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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


    In re: LIPITOR ANTITRUST LITIGATION                   MDL No. 2332


                                                          Master Docket No.: 3:12-cv-2389
    THIS DOCUMENT RELATES TO:                             (PGS/DEA)
    All Direct Purchaser Class Actions                    CONSOLIDATED AMENDED
                                                          CLASS ACTION COMPLAINT AND
                                                          JURY DEMAND
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                                            INTRODUCTION

         1.      This is a federal antitrust action on behalf of a class of direct purchasers seeking

  recovery of overcharges for the delayed entry of generic versions of Lipitor (atorvastatin calcium).

         2.      Although the original compound patent for Lipitor expired March 24, 2010, generics

  were foreclosed from entering the market until November 30, 2011, over 20 months later. Pfizer, at

  first acting alone and then later with Ranbaxy, illegally caused this delay by implementing an

  overarching anticompetitive scheme.

         3.      The scheme included (i) perpetrating a fraud upon the United States Patent and

  Trademark Office (―PTO‖) to procure Patent No. 5,273,995 (the ‘995 patent), which Pfizer then

  wrongfully listed in the United States Food and Drug Administration‘s (―FDA‖) ―Orange Book‖, (ii)

  filing a sham ―Citizen Petition‖ with FDA, (iii) instituting objectively baseless ―sham‖ litigation

  against Ranbaxy with respect to the fraudulently-procured ‘995 patent and certain ―process‖ patents,

  (iv) entering into an anticompetitive and unlawful ―reverse payment‖ patent settlement agreement

  with Ranbaxy under cover of a non-justiciable lawsuit, and (v) thwarting other generic companies‘

  efforts to obtain judicial declarations that Pfizer‘s various unasserted patents were invalid,

  unenforceable and/or would not be infringed by generic Lipitor, in order to avoid the triggering of

  Ranbaxy‘s anticipated 180-day first-to-file marketing exclusivity and thereby sustain Pfizer‘s and

  Ranbaxy‘s ability to, in concert, bottleneck other generic companies from launching generic Lipitor

  earlier than November 30, 2011.

         4.      The scheme worked as planned. Generic Lipitor was not sold until on or about

  November 30, 2011, far later than it would have been sold absent the defendants‘ illegal,

  anticompetitive conduct.




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         5.      The defendants‘ scheme to delay generic Lipitor competition caused the direct

  purchasers and the members of the Direct Purchaser Class to pay billions of dollars more for

  atorvastatin calcium than they would have paid absent such conduct.

         6.      In outline, the scheme included the following.

         The ‘995 Fraud

         7.      In 1987, Warner-Lambert obtained the original compound patent for Lipitor, U.S.

  patent 4,681,893 (the ―‘893 original Lipitor patent‖ or ―‘893 patent‖). The ‘893 patent included

  protection for various enantiomer forms (as explained below), including the isolated enantiomer of

  atorvastatin which, when formulated into a calcium salt, is Lipitor. After obtaining various

  extensions, the ‘893 patent expired on March 24, 2010.

         8.      In 1989, Warner-Lambert sought even longer patent exclusivity for Lipitor and

  applied for a patent that specifically claimed the isolated enantiomer in various forms, including the

  calcium salt used for Lipitor. Warner-Lambert eventually obtained this patent, which originally

  issued as the ‘995 patent. The ‘995 patent extended Pfizer‘s Lipitor monopoly until June 28, 2011.

  As detailed below, however, Pfizer obtained the ‘995 patent only by defrauding the PTO.

         9.      For example, to circumvent an obviousness objection, Warner-Lambert represented

  that it had unexpectedly discovered that the isolated enantiomer form was ten times more effective in

  inhibiting the production of cholesterol than its non-isolated racemate (explained below) compound,

  rather than two times more effective, as a person of ordinary skill in the art would expect. This

  representation was false because, as Warner-Lambert knew full well, the data submitted to the PTO

  as purported support for this ―surprising‖ discovery was a fabricated chart that was, in fact, an

  unscientific mish-mash of data points that were intentionally selected from over a dozen separate

  tests performed on different formulations over a two-year period.



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           10.      Thus, the purported invention that allegedly produced a ten-fold increase in activity of

  the isolated enantiomer (the R-trans enantiomer) over the previously patented racemate did not exist.

  In fact, as Warner-Lambert knew, the data, analyzed pursuant to sound and reasonable scientific

  principles, established that the invention claimed in the ‘995 patent (the isolated R-trans enantiomer)

  provided only a two-fold increase in activity over the racemate — the same increase that was widely

  expected based on the prior art. The claim of a ten-fold increase in cholesterol-inhibiting activity

  was entirely fabricated and asserted only after Warner-Lambert lawyers instructed the lead scientist

  to ―go back‖ through years of data and find something ―surprising.‖

           11.      Similarly, a second, data submission that was represented as complete and

  statistically significant was in fact the partial results of a single selected test so methodologically

  flawed (e.g., the drug wasn‘t even dissolved into a solution before testing as would be mandatory in

  any completed protocol) that no reasonable chemist would have relied on it to support the claimed

  ten-fold increase in activity.

           12.      Warner-Lambert‘s false representations were highly material. Indeed, they formed

  the only bases upon which the PTO granted the ‘995 patent. Absent these false representations, the

  ‘995 patent would not have issued.

           13.      Recent patent lawsuits in foreign jurisdictions reveal Warner-Lambert‘s abuses before

  the PTO. Indeed, courts in Australia and Canada have concluded that counterparts to the ‘995 patent

  were obtained as a result of these material misrepresentations.1

           14.      While Pfizer later attempted to defend its fraudulent conduct by eschewing reliance

  on their fabricated and misleading data submitted to the PTO in seeking reissuance of the ‘995


  1
    These decisions post-date a decision to the contrary in the District of Delaware. Upon information and belief, the
  foreign decisions are based on a more comprehensive factual record and analysis.



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  patent, the bottom line is this: but for the fraud, the isolated enantiomer patent would not have

  issued in any form at any time, and would not have been available to enable a lawsuit against would-

  be generic competitors to branded Lipitor. The infringement lawsuit Pfizer brought against Ranbaxy

  with respect to the ‘995 patent was therefore an objectively baseless sham. But for the fraud before

  the PTO in procuring the ‘995 patent, generic atorvastatin calcium would have been available in the

  United States market well before November 30, 2011.

         The Sham FDA submissions

         15.     Just before the 30-month stay was set to expire for Ranbaxy‘s first to file stay, Pfizer

  – knowing that the FDA could finally approve Ranbaxy‘s generic Lipitor ANDA after the 30-month

  stay expired, and fearful that FDA would do so – submitted sham communications to FDA

  demanding that FDA take steps in reviewing ANDA‘s for amorphous atorvastatin that had no

  regulatory, scientific, medical, or other reasonable basis. Pfizer timed its submissions of these

  objectively baseless communications solely in an attempt to further delay final FDA approval of

  Ranbaxy‘s generic Lipitor ANDA, and not for any legitimate regulatory, scientific, medical or other

  legitimate purpose.

         The Unlawful Market Allocation Agreement

         16.     Pfizer and Ranbaxy entered into an unlawful market allocation agreement (the ―Delay

  Agreement‖). This agreement constituted an unlawful contract, combination and conspiracy to

  allocate the entire United States market for atorvastatin calcium to Pfizer until November 30, 2011.

         17.     To disguise its true anticompetitive purpose, the Delay Agreement was entered into

  under cover of objectively baseless, sham litigation Pfizer brought against Ranbaxy.

         18.     Pursuant to the agreement, Ranbaxy agreed that it would neither (a) compete directly

  with Pfizer with a generic Lipitor in the United States market nor (b) selectively waive or relinquish



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   its first-to-file 180-day marketing exclusivity so as to permit any other ANDA filer to market a

   generic version of Lipitor in the United States until November 30, 2011.

          19.     In exchange for Ranbaxy‘s agreement not to launch (or authorize another ANDA filer

   to launch) generic Lipitor in the United States until November 30, 2011, Pfizer gave Ranbaxy

   significant consideration, including forgiveness of outstanding money judgments (which were

   obviously not the product of the then-nonexistent marketing of generic atorvastatin calcium in the

   United States) and the right to market generic Lipitor in at least eleven foreign markets.

          20.     Pfizer also purported to give Ranbaxy protection from infringement liability in

   connection with a variety of patents, but that ―consideration‖ was illusory, and merely inserted into

   the Delay Agreement to disguise the illegal horizontal allocation with Pfizer.

          The Obstruction of Later Generic Entrants

          21.     To prevent the involuntary triggering of Ranbaxy‘s 180-day first-to-file marketing

   exclusivity prior to November 30, 2011, Pfizer opposed efforts by other generic ANDA filers to

   obtain patent determinations that would have enabled early generic entry. Among other things,

   Pfizer obstructed efforts to get early court rulings and settled lawsuits brought by other ANDA filers

   before such determinations could occur.

          22.     These efforts worked. Despite their efforts to do so, no ANDA filer was able to

   circumvent the Delay Agreement between Pfizer and Ranbaxy by triggering Ranbaxy‘s 180-day

   marketing exclusivity prior to November 30, 2011.

          The Harm to Direct Purchasers

          23.     Were it not for the conduct of Pfizer – first acting alone and then later with Ranbaxy

   in the defendants‘ overarching anticompetitive scheme to delay generic Lipitor competition in the

   United States – generic Lipitor would have been available in the United States far earlier than



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   November 30, 2011. But for the defendants‘ illegal conduct, generic Lipitor would have been

   available far earlier than it was.

           24.     But for the defendants‘ illegal conduct, the direct purchasers and the members of the

   Direct Purchaser Class would have begun to pay less for their atorvastatin calcium requirements far

   earlier than November 30, 2011. The defendants injured the direct purchasers and the members of

   the Direct Purchaser Class by causing them to pay substantial overcharges – potentially in the

   billions of dollars — on their purchases of atorvastatin calcium.

                                        JURISDICTION AND VENUE

           25.     This action arises under sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2,

   and section 4 of the Clayton Act, 15 U.S.C. § 15(a), to recover threefold damages, costs of suit and

   reasonable attorneys‘ fees for the injuries sustained by the direct purchasers and members of the

   Direct Purchaser Class resulting from the defendants‘ preventing unlawfully the entry of generic

   atorvastatin calcium into the United States Market. This Court has subject matter jurisdiction under

   28 U.S.C. §§ 1331 and 1337(a), and 15 U.S.C. § 15.

           26.     The defendants transact business within this district, and they carry out interstate

   trade and commerce, in substantial part, in this district and/or have an agent and/or can be found in

   this district. Venue is appropriate within this district under section 12 of the Clayton Act, 15 U.S.C.

   § 22, and 28 U.S.C. §1391(b) and (c).

                                               THE PARTIES

           27.     The plaintiff Stephen L. LaFrance Holdings, Inc. is a corporation organized under the

   laws of Delaware and is located in Pine Bluff, Arkansas. The plaintiff Stephen L. LaFrance

   Pharmacy, Inc. d/b/a SAJ Distributors (collectively with Stephen L. LaFrance Holdings, Inc., ―SAJ‖)

   is a corporation organized under the laws of Arkansas, is located in Pine Bluff, Arkansas, and is a

   wholly owned subsidiary of Stephen L. LaFrance Holdings, Inc. During the class period, McKesson

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   Corp., SAJ‘s assignor, purchased Lipitor directly from Pfizer and was injured as a result of all of the

   defendants‘ unlawful conduct. McKesson Corp. resold, and will continue to resell, some of that

   Lipitor to SAJ. SAJ is the assignee of the claims of McKesson Corp. to the extent of those direct

   purchases from Pfizer.

          28.     The plaintiff Burlington Drug Co., Inc. is a corporation organized under the laws of

   the State of Vermont and is located at 91 Catamount Drive, Milton, Vermont, 05468. During the

   class period, Burlington Drug Co. purchased Lipitor directly from Pfizer, and purchased generic

   Lipitor directly from Ranbaxy, and was injured as a result of all of the defendants‘ unlawful conduct.

          29.     The plaintiff Value Drug Company is a corporation organized under the laws of the

   Commonwealth of Pennsylvania and is located at One Golf View Drive, Altoona, Pennsylvania

   16601. During the class period, Burlington Drug Co. purchased Lipitor directly from Pfizer, and

   purchased generic Lipitor directly from Ranbaxy, and was injured as a result of all of the defendants‘

   unlawful conduct.

          30.     The plaintiff Professional Drug Company, Inc. is a corporation organized under the

   laws of the State of Mississippi with its principal place of business in Biloxi, Mississippi. During the

   class period, Professional Drug Company, Inc. purchased Lipitor directly from Pfizer, and was

   injured as a result of all of the defendants‘ unlawful conduct.

          31.     The plaintiff Rochester Drug Co-Operative, Inc. (―RDC‖) is a stock corporation duly

   formed and existing under the New York Cooperative Corporations Law, with its principal place of

   business located at 50 Jet View Drive, Rochester, New York 14624. During the class period, RDC

   purchased branded Lipitor directly from Pfizer, and purchased generic Lipitor directly from

   Ranbaxy, and was injured as a result of all the defendants‘ unlawful conduct.




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             32.   The plaintiff American Sales Company LLC is a Delaware corporation with its

   principal place of business located in Lancaster, New York. During the class period, Cardinal

   Health, Inc., American Sales Company‘s assignor, purchased Lipitor directly from Pfizer and was

   injured as a result of all of the defendants‘ unlawful conduct. Cardinal Health, Inc. resold, and will

   continue to resell, some of that Lipitor to American Sales Company. American Sales Company is

   the assignee of the claims of Cardinal Health, Inc., to the extent of those direct purchases from

   Pfizer.

             33.   These six plaintiffs are referred to collectively as the ―direct purchasers.‖

             34.   The defendant Pfizer, Inc. is a corporation organized and existing under the laws of

   the State of Delaware, and has a place of business at 235 East 42nd Street, New York, New York

   10017. At all relevant times, Pfizer, Inc. sold branded Lipitor directly to the direct purchasers and/or

   their assignors, and to the other members of the Direct Purchaser Class, and engaged in the conduct

   challenged in this case and attributed to Pfizer, itself and/or through its various employees and/or

   other agents acting within the course and scope of their duties and/or with actual, apparent, or

   ostensible authority in connection therewith.

             35.   The defendant Pfizer Manufacturing Ireland, formerly known as Pfizer Ireland

   Pharmaceuticals, formerly known as Warner Lambert Export, Ltd., is a partnership organized and

   existing under the laws of Ireland, with registered offices at Pottery Road, Dun Laoghaire, Co.

   Dublin, Ireland. Pfizer Ireland Pharmaceuticals, a wholly-owned indirect subsidiary of defendant

   Pfizer, Inc., was the exclusive licensee of the ‘995 patent and other patents. At all relevant times,

   defendant Pfizer Manufacturing Ireland engaged in the conduct challenged in this case and attributed

   to Pfizer, itself and/or through its various employees and/or other agents acting within the course and

   scope of their duties and/or with actual, apparent, or ostensible authority in connection therewith.



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          36.       The defendant Warner-Lambert Company is a corporation formerly organized under

   the laws of the State of Delaware with offices for service of process at 235 East 42nd Street, New

   York, New York 10017. In 1997, Warner-Lambert and Pfizer began co-promotion of Lipitor. On

   June 19, 2000, Pfizer completed its merger with Warner-Lambert whereby Pfizer purchased all

   outstanding shares of Warner-Lambert common stock. Each share of Warner-Lambert stock was

   converted into 2.75 shares of Pfizer common stock. The merger qualified as a tax-free

   reorganization and was accounted for as a pooling of interests. Warner-Lambert Company became a

   wholly-owned subsidiary of Pfizer Inc. At the end of 2002, Warner-Lambert Company became a

   Delaware limited liability company and changed its name to Warner-Lambert Company LLC.

   Warner-Lambert Company knowingly controlled all activities of the applicant before the PTO in

   connection with the prosecution of the ‘995 patent and other patents.

          37.       Warner-Lambert Company and Warner-Lambert Company LLC are collectively

   referred to as ―Warner-Lambert.‖ ―Warner-Lambert‖ includes, but is not limited to, Warner-

   Lambert employees Bruce D. Roth, Joan Thierstein, Elizabeth M. Anderson, and Jerry F. Janssen.

          38.       The defendants referenced in the preceding four paragraphs are referred to

   collectively as the ―Pfizer defendants‖ or ―Pfizer.‖

          39.       The defendant Ranbaxy, Inc. is a corporation organized and existing under the laws of

   the State of Delaware, and has a place of business located at 600 College Road East, Princeton, New

   Jersey, 08540.

          40.       The defendant Ranbaxy Pharmaceuticals, Inc. is a corporation organized and existing

   under the laws of the State of Delaware, and has a place of business located at 600 College Road East,

   Princeton, New Jersey, 08540.




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          41.     The defendant Ranbaxy Laboratories Limited is a corporation organized and existing

   under the laws of India, with a principal place of business located at Plot 90, Sector 32, Gurgaon -

   122001 (Haryana), India.

          42.     At all relevant times, the defendants Ranbaxy, Inc. and Ranbaxy Pharmaceuticals,

   Inc. acted in their own right and as agents of defendant Ranbaxy Laboratories Limited. The

   defendants referenced in the preceding four paragraphs are referred to collectively as the ―Ranbaxy

   defendants‖ or ―Ranbaxy.‖

          43.     The term ―defendants‖ refers to all the defendants.

          44.     All of the defendants‘ actions described in this complaint are part of, and were in

   furtherance of, the illegal monopolization and restraint of trade alleged herein, and were authorized,

   ordered, or done by the defendants‘ various officers, agents, employees, or other representatives

   while actively engaged in the management of the defendants‘ affairs, within the course and scope of

   their duties and employment, and/or with the actual, apparent, and/or ostensible authority of

   defendants.

                                        LEGAL BACKGROUND

   A.     The regulatory structure for approval of generic drugs and substitution of generics for
          brand name drugs.

          45.     Under the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. §§ 301-392 (―FDCA‖), a

   manufacturer of a new drug must obtain FDA approval to sell a new drug. The manufacturer must

   file a New Drug Application (―NDA‖) that includes data showing the drug is safe and effective as

   well as information about applicable patents.

          46.     Generic manufacturers may file abbreviated applications, or ANDAs, that (i) rely on

   the scientific findings of safety and effectiveness included in the brand name drug manufacturer‘s

   original NDA, and (ii) show that the generic drug contains the same active ingredient(s), dosage


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   form, route of administration, and strength as the brand name drug (or, in other words, is

   bioequivalent to the brand name drug). Drug Price Competition and Patent Term Restoration Act,

   Pub. L. No. 98-417, 98 Stat. 1585 (1984) (―Hatch-Waxman‖).

          47.     After approval of an NDA, the brand manufacturer may list any patents that it

   believes could reasonably be asserted against a generic manufacturer who makes, uses, or sells a

   generic version of the brand name drug prior to the expiration of the listed patents in the FDA‘s book

   of Approved Drug Products with Therapeutic Equivalence Evaluations (the ―Orange Book‖). The

   FDA relies on the brand name manufacturer for information concerning the validity of the patents

   and applicability of the patents to the brand name drug. The FDA performs a ministerial function

   only in listing patents in the Orange Book.

          48.     Patents issued after the FDA approves an NDA may be listed in the Orange Book as

   related to the NDA if the manufacturer certifies, inter alia, that the new patents claim either the

   approved drug (for compound patents) or approved methods of using the new drug (for method-of-

   use patents). The NDA holder must list any new patents within 30 days of issuance. 21 U.S.C. §§

   355 (b)(1) & (c)(2).

          49.     To obtain FDA approval of an ANDA, a generic manufacturer must certify that the

   generic drug will not infringe any patents listed in the Orange Book. An ANDA must contain one of

   four certifications. A ―Paragraph IV‖ certification must state ―that the patent for the brand name

   drug is invalid or will not be infringed by the generic manufacturer‘s proposed product.‖

          50.     If a generic manufacturer files a Paragraph IV certification, a brand name

   manufacturer may delay final FDA approval of the ANDA by suing the generic manufacturer for

   patent infringement. If the brand name manufacturer initiates a patent infringement action against

   the generic filer within 45 days of receiving notification of the Paragraph IV certification, the FDA



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   may not grant final approval to the ANDA until the earlier of (a) the passage of 30 months (two-and-

   a-half years), or (b) the issuance of a decision by a court that the patent is invalid or not infringed by

   the generic manufacturer‘s ANDA. The FDA may grant ―tentative approval‖ while the 30-month

   stay is pending but cannot authorize the generic manufacturer to go to market.

          51.     As an incentive to spur generic companies to provide less expensive alternatives to

   branded drugs, the first generic manufacturer to file a substantially complete ANDA containing a

   Paragraph IV certification gets a period of protection from competition with other ANDA filers. For

   Paragraph IV certifications made before December 2003, the first generic applicant is entitled to 180

   days (six months) of market exclusivity, measured from its initial commercial marketing of the drug

   or court decision determining that all patents for the branded drug listed in the FDA Orange Book

   are invalid or not infringed, whichever comes first.

          52.     The statutory rules in effect for ANDAs filed (and Paragraph IV certifications

   submitted) before December of 2003 create an opportunity for branded drug companies and first-

   filed ANDA applicants to collude to delay generic drug competition. If a first-filed ANDA

   applicant‘s 180-day exclusivity is not triggered except after first commercial marketing of the

   ANDA applicant‘s product or after all listed patents for the branded drug are found by a court to be

   invalid or not infringed, a first-filed ANDA applicant can, in concert with the branded drug

   company, effectively ―park‖ its 180-day exclusivity, thereby creating a ―bottleneck‖ that prevents

   other ANDA applicants from coming to market indefinitely. The FTC has observed this potential

   and the anticompetitive effects that can result. Federal Trade Commission, Generic Drug Entry Prior

   to Patent Expiration, An FTC Study, at vi-xi (FTC July 2002).

          53.     It is generally not in a first-filed ANDA applicant‘s unilateral economic interests to

   park its 180-day exclusivity, however.



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          54.     Brand name manufacturers have larger financial incentives to: (a) list patents in the

   Orange Book, even ineligible patents; and (b) sue any generic competitor that files an ANDA with a

   Paragraph IV certification – even if the competitor‘s product does not actually infringe the listed

   patent(s) and/or the patents are invalid or unenforceable – in order to delay final FDA approval of an

   ANDA for up to two-and-a-half years.

   B.     The benefits of generic drugs.

          55.     Once bioequivalence to the corresponding branded drug is demonstrated, the FDA

   assigns an ―AB‖ rating to the generic drug, permitting it to be sold and also substituted for the brand

   name drug at the pharmacy counter. Typically, AB-rated generics (referred to here as ―generics‖)

   are priced significantly below their branded counterparts. Upon the entry of additional generics,

   drug prices generally fall even more.

          56.     Generic competition enables purchasers to (a) purchase generic versions of the brand

   name drug at a substantially lower price than the brand name price, and (b) purchase the brand name

   drug at a reduced net price. Generic competition to a single branded drug product can result in

   billions of dollars in savings to consumers, direct purchasers, insurers, and all drug purchasers.

          57.     All states permit (and some states require) pharmacists to automatically substitute a

   generic drug for the corresponding brand name drug unless the doctor has stated that the prescription

   for the brand name product must be dispensed as written. Until a generic manufacturer enters the

   market, no such substitution can occur and therefore the brand name manufacturer can charge

   supracompetitive prices profitably without material loss of sales volume. Consequently, brand name

   drug manufacturers have a strong interest in seeking to delay the introduction of generic competition

   into the market.

          58.     Many third party payers (such as health insurance plans and Medicaid programs) have

   adopted policies to encourage the substitution of AB-rated generic drugs for their branded
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   counterparts. Many consumers routinely switch from a branded drug to an AB-rated generic drug

   once the generic becomes available. Consequently, AB-rated generic drugs typically capture a

   significant share of their branded counterparts‘ sales, causing a significant reduction of the branded

   drug‘s unit and dollar sales.

                                                   FACTS

   C.     A short primer on statins.

          59.     Lipitor belongs to a class of drugs called statins. Discovered in the 1970s, statins

   lower cholesterol by inhibiting the liver enzyme 3-hydroxy 3-methylglutrayl-coenzyme A reductase

   (―HMG-CoA reductase‖). HMG-CoA reductase controls the rate of the metabolic production of

   cholesterol; inhibiting HMG-CoA reductase inhibits the production of cholesterol. Common

   thinking is that high cholesterol is associated with coronary heart disease and atherosclerosis in some

   populations.

          60.     Efforts to reduce cholesterol levels are a big business: by 1997, five of the largest

   pharmaceutical companies marketed and sold six different brand name statins. In 2002, almost one

   in ten Americans aged 20 and older took a statin. In 2004, sales of statins topped $15.5 billion,

   comprising 6.6% of all prescription drug sales.

          61.     Branded statins cost between $2.50 and $5.00 for a single daily pill ($75 to $150 a

   month, $900-$1,800 a year); generic statins cost markedly less, sometimes less than $1 a day.

          62.     Statins consist of three structural parts: a lactone ring, a linkage group (denoted as

   ―X‖), and a group or groups connected to the linkage group (referred to herein as an ―R group‖).




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                                    Figure 1: Generalized Structure of Statins2




            63.       The R group for the well-known statins can contain one or more single rings, or

   fused rings, and other substituent groups.

            64.      The lactone ring, on the right hand side, contains five carbon atoms and one oxygen

   atom.3 Attached to the ring and denoted as =O is an additional oxygen called a ketone. The lactone

   ring has two major substituents: a hydroxyl group (-OH) shown at the top of the ring, and the linkage

   group, X, attached to the R group. The two major substituents in the lactone ring are in a trans

   position; that is, the hydroxyl group is above the plane of the lactone ring and the linkage group X is

   below the plane of the lactone ring.


   2
     The three-dimensional structure of molecules can be represented pictorially in two dimensions using the following
   symbols to represent the orientation of the atoms in space:    (solid wedge) indicates that the molecule is projecting
   out of the page;     (dashed wedge) indicates that the molecule is projecting behind the page; — (solid line) indicates
   that the molecule is in the plane of the paper.
   3
     The lactone ring members are shown with the chemical convention that omits the carbon and some hydrogen atoms
   and shows only the bonds between the carbons and other atoms. Each carbon atom is designated as the point where two
   bond lines connect and each carbon is assumed to have two hydrogen atoms attached.



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          65.     In the 1970s, researchers discovered that mevastatin, naturally occurring in red yeast

   and rice, inhibited cholesterol synthesis.

                                            Figure 2: Mevastatin




          66.     Mevastatin contains the lactone ring as shown in Figure 1 (top right of Figure 2), a


   linkage group, X (shown as      ), and an R group of two fused rings with substituents. One of the

   fused rings contains a methyl group (-CH3, shown as       ) on the right ring and an additional O-

   linked substituent group on the left ring.

          67.     Around the same time, researchers discovered lovastatin, naturally occurring in red

   yeast rice and oyster mushrooms, was another highly potent HMG-CoA reductase inhibitor. Merck

   sought and gained approval for Mevacor, a brand name version of lovastatin and the first statin

   available in the United States, in the early 1980s.

                                            Figure 3: Lovastatin




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           68.      The structure of lovastatin is similar to mevastatin. Lovastatin contains a lactone ring

   and a fused-ringed group joined to the lactone ring by a linkage group. The R group contains the

   same fused rings with same O-linked substituent group on the left ring and a methyl group on the

   right ring as found on mevastatin. Lovastatin has an additional methyl group.

           69.      In the early 1980s, Warner-Lambert sought to develop a ―me-too‖ version of the

   already-identified statins. Researchers at Warner-Lambert came up with a formulation that used the

   same lactone ring as mevastatin and lovastatin but contained different linked substituents. Warner-

   Lambert called their new statin ―atorvastatin.‖

   D.      1986-1987: Warner-Lambert obtains the original Lipitor patent.

           70.      On May 30, 1986, Warner-Lambert filed a patent application for a group of

   compounds and pharmaceutical compositions useful as hypercholesterolemic and hypolipidemic

   agents.4 The patent application was entitled ―Trans-6-[2-(3- or 4-Carboxamido-Subsituted Pyrrol-1-

   yl)alkyl]-4-Hydroproxypyran-2-one Inhibitors Of Cholesterol Synthesis.‖

           71.      This application would eventually lead to the issuance of the ‘893 patent.

           72.      Because this lawsuit involves how Warner-Lambert fraudulently obtained another

   Lipitor patent after the issuance of the ‘893 patent, and because this lawsuit involves how Warner-

   Lambert fraudulently avoided the prior art contained in the ‘893 patent, this complaint now describes

   the background, claims and uses of the ‘893 patent, or ―original Lipitor patent.‖




   4
     The application was in the name of Bruce D. Roth. Roth was, at all relevant times, a leader of the drug discovery team
   at Warner-Lambert that developed Lipitor. He is the named inventor of Patent Nos. 4,681,893 and 5,273,995; the patent
   applicant for Patent Nos. 4,681,893 and 5,273,995; and the patent applicant in connection with the re-issuance
   proceedings for Patent No. 5,273,995. Patent Nos. 4,681,893 and 5,273,995 issued to Roth and were assigned to his
   employer, Warner-Lambert. Roth is not individually named as a defendant in this action.



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          1.      The patent specification claims atorvastatin, “the corresponding ring-opened
                  acids derived therefrom” in salt form, and the R-trans and S-trans enantiomers.

          73.     Warner-Lambert stated in the patent specification for the original Lipitor patent that

   ―in its broadest aspect the present invention provides compounds of structural formula I.‖

                          Figure 4: Warner-Lambert’s Structural Formula I




          74.     Like other statins, structural formula I contains a lactone ring, a linkage group (X),

   and an R group.

          75.     Warner-Lambert claimed the disclosed compounds were ―useful as

   hypocholesterolemic or hypolipidemic agents by virtue of their ability to inhibit the biosynthesis of

   cholesterol through inhibition‖ of the HMG-CoA reductase enzyme. For support, the specification

   detailed the biological activity of three compounds compared to the prior art.

          76.     Research in the 1980s demonstrated that the open lactone ring forms of statin

   molecules were highly potent cholesterol synthesis inhibitors and were often more potent than the

   closed lactone ring forms of the same molecules. Warner-Lambert claimed that the invention

   contemplated the hydroxyl acids, or structural formula I with an opened lactone ring:

                  Also contemplated as falling within the scope of the present invention
                  are the hydroxyl acids, and pharmaceutically acceptable salts thereof,
                  derived from the opening of the lactone ring of the compounds of
                  structural formula I above.

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          77.     Importantly, Warner-Lambert’s patent application specifies and covers a compound

   in which the R-trans enantiomer is isolated:

                  The compounds of structural formula I above possess two asymmetric
                  carbon centers, one at the 4-hydroxy position of the pyran-2-one ring,
                  and the other at the 6-position of the pyran-2-one ring where the
                  alkylpyrrole group is attached. This asymmetry gives rise to four
                  possible isomers, two of which are the R-cis- and S-cis-isomers and
                  the other two of which are the R-trans- and S-trans-isomers. This
                  invention contemplates only the trans- form of the compounds of
                  formula I above.
   (Emphases added.)
          2.      The chemistry of enantiomers.

          78.     To understand how the ‘893 patent covered compounds which included the isolated

   ―R-trans enantiomer,‖ and that it included the R-trans enantiomer in calcium form, some background

   of the chemistry of enantiomers is helpful. (Before doing so, it is noted that Pfizer does not dispute

   the patent coverage of the original Lipitor patent for atorvastatin calcium, i.e., a compound having

   the structural formula I which included versions in which the R-trans enantiomer is isolated; again,

   this description provides the context for their later fraudulent actions.)

          79.     Enantiomers are isomers that are mirror images of each other but cannot be

   superimposed. For example, a person‘s left hand and right hand are non-superimposable mirror

   images of each other. Images (a) and (b) in Figure 5 below are enantiomers (where the carbon atom

   is the chiral center around which a compound‘s structure is built).




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                                 Figure 5: Example of Pair of Enantiomers




           80.     Pairs of enantiomers share many chemical and physical properties, such as identical

   melting points, solubility, and colors. Other properties, such as biological properties, may differ.

           81.     Enzymes, including HMG-CoA reductase, typically display a preference for

   interacting with one enantiomer over the other. It is common for one enantiomer of an enantiomeric

   pair to have all or most of the biological activity when interacting with an enzyme, while the other

   has little or no biological activity.

           82.     Enantiomers can be distinguished from one another by their effect on the rotation of

   polarized light, and are said to be optically active. Enantiomers reflect polarized light in either a

   clockwise direction (right, denoted ―+‖) or a counter-clockwise direction (left, denoted ―-‖). An

   unequal mixture of two enantiomers is optically active; the degree of optical rotation reflects the

   percentage of each enantiomer in the mixture. When equal mixtures of two opposite enantiomers are

   present, called a racemic mixture or racemate, the mixture is not optically active because the optical

   rotations of the enantiomers cancel each other.

           83.     To differentiate enantiomers in written form, each enantiomer is assigned a

   configuration, i.e., the arrangement of atoms that characterizes a particular enantiomer and

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   represents the molecule‘s three-dimensional structure. Configuration designations are determined by

   priority rules that rank the atoms or substituent group of atoms that are attached to the chiral center.

   If the priority proceeds in a clockwise direction, the enantiomer has an ‗R‘ (right) configuration; if

   the arrangement is counter-clockwise, the enantiomer has an ‗S‘ (left) configuration.

          84.     In addition to R/S and +/- configurations, a molecule‘s configuration can also

   reference the location of the substituent atoms or groups of atoms relative to each other. An

   arrangement where both the major substituents lie on the same side of the plane of reference is called

   a cis arrangement. An arrangement where the major substituents appear on the opposite sides of the

   plane is called a trans arrangement. The placement of X and Z in the figure below demonstrates

   these cis and trans arrangements.

                          Figure 6: Examples of Cis and Trans Arrangements




          85.     The lactone rings found in statins have two chiral centers, one at the carbon with the

   hydroxyl group and the other at the carbon attached to the linker. Rings containing two chiral

   centers give rise to four possible isomers – the R-cis-isomer, the S-cis-isomer, the R-trans-isomer,


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   and the S-trans-isomer – and two enantiomeric pairs, R-cis-isomer & S-cis-isomer and R-trans-

   isomer & S-trans-isomer.

             86.     Research at the time demonstrated that the preferred configuration for the lactone ring

   in a statin – the configuration offering the highest level of cholesterol inhibition – was the R-trans

   configuration.5 Both mevastatin and lovastatin have lactones in the R-trans configuration. In the

   case of HMG-CoA reductase inhibitors, the R-trans enantiomer appeared to be the active enantiomer

   and the S-trans enantiomer the inactive one.

             87.     Consistent with this conventional thinking, Warner-Lambert‘s application for the

   ‘893 patent contemplated the trans-form of compounds in structural formula I, i.e., racemic or

   enantiomeric forms of structural formula I. Furthermore, the application contemplated atorvastatin

   in a variety of formulations, including calcium salts.

             3.      1987: The PTO issues the original Lipitor patent.

             88.     On July 21, 1987, the PTO issued the ‘893 original Lipitor patent.6 The ‘893 patent

   was assigned to Warner-Lambert. In the absence of an extension, the original Lipitor patent would

   have expired on May 30, 2006, twenty years from the date of the first application. Later extensions

   lengthened the period of patent protection until March 24, 2010. (The extensions are discussed

   later.)

             89.     The ‘893 patent envisaged the ability to have just the R-trans or S-trans enantiomers

   of compounds of structural formula I. The ‘893 patent also recognized that these compounds could

   be in acid or salt form. While the ‘893 patent covered multiple formulations of compounds having


   5
    See, e.g., Alberts, A. et al., J. Proc. Natl. Acad. Sci. USA 1980, 77:3957; Stokker, G.E., et al., J. Med. Chem. 1985,
   28:347-358; Stokker, G.E. et al., J. Med. Chem, 1986, 29: 849-852.
   6 The PTO conducted two separate reexamination proceedings with respect to the ‘893 Patent. Neither of these reissue
   proceedings is relevant to the direct purchasers‘ claims in this matter.



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   structural formula I, Warner-Lambert focused on developing and commercializing the R-trans

   enantiomer of structural formula I in calcium salt form, which it called ―atorvastatin.‖ The ‘893

   patent thus covered atorvastatin.

   E.       1989-1993: Warner-Lambert obtains a follow-on enantiomer patent by fraud.7

            90.      In April of 1989, Warner-Lambert internally designated atorvastatin as a ―lead

   compound‖ for further investigation. At this time, Warner-Lambert knew that the ‘893 patent

   covered atorvastatin, and that it would provide Warner-Lambert with many years of patent

   protection and many years of exclusive sales of atorvastatin (later called Lipitor). Nevertheless,

   Warner-Lambert sought to extend even further the period for exclusive sales for its new statin.

            91.      In doing so, Warner-Lambert faced certain realities. Warner-Lambert knew that the

   R-trans enantiomer was the active enantiomer responsible for atorvastatin‘s ability to inhibit

   cholesterol. Warner-Lambert also knew the PTO would reject an application to patent an

   enantiomer covered by the ‘893 patent; after all, such an ―invention‖ would be either anticipated by

   (that is, already covered by) the ‘893 patent, or be obvious in light of the ‘893 patent. Thus, Warner-

   Lambert knew it could only obtain a follow-on patent specifically for the R-trans enantiomer if it

   could convince the PTO that the isolated R-trans enantiomer had some surprising or unexpected

   characteristic.

            92.      Senior management at Warner-Lambert instructed the Warner-Lambert researchers to

   review the pre-existing biological data for the R-trans enantiomer to find data that supported both (i)

   a claim that the activity of the isolated R-trans enantiomer was surprising and (ii) the patentability of

   the isolated R-trans enantiomer.

   7
    Many of the facts recounted in this section have come to light during international patent litigation. See, e.g., Ranbaxy
   Australia Pty Ltd. v. Warner-Lambert Company LLC (Appeal) 2008 FCAFC 82 (May 28, 2008); Pfizer Canada Inc. v.
   Ranbaxy Labs. Ltd., 2007 FC 91 (January 25, 2007); Ranbaxy Australia Pty Ltd. v. Warner-Lambert Company LLC,
   2006 FCA 1787 (December 20, 2006); Pfizer Canada Inc. v. Novopharm Ltd., 2006 FC 1471 (Dec. 17, 2006).



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             93.   During a meeting, Warner-Lambert senior management asked what the patent

   coverage was for the pure R-trans enantiomer. Roth responded that the R-trans enantiomer was

   covered under the ‘893 patent. Senior management then asked whether there was anything with the

   pure R-trans enantiomer that would make it patentable in and of itself. But Roth didn‘t know of any

   surprising characteristics that had unfolded over his years of working with the enantiomer

   atorvastatin. So Don Maxwell, the vice president of discovery research, assigned Roth the task of

   going back to existing lab books to see if there was some data that showed something surprising.

   Roth was instructed to provide any surprising data to Wyeth patent attorney Joan Thierstein.

             94.   Regarding the instructions from these senior Warner-Lambert officials, Roth has

   stated,

                   if I found something surprising I would provide that. And what I did
                   do was I provided that information to the patent attorney for Warner-
                   Lambert and asked if that was sufficient, and it was and so that was the
                   data that was used.

             95.   Of course, when senior Warner-Lambert management sent Roth back to the old

   laboratory notebooks to ―find‖ something surprising, there was already a wealth of knowledge about

   statins and the formulation of isolated R-trans enantiomers. The state of the art about statin

   formulations sets a context for the later fraud.

             1.    Knowledge of one skilled in the art of statins in 1989.

             96.   Statins are in the field of synthetic organic chemistry as it applies to discovery of

   compounds suitable for use as drugs directed to the regulation of the cholesterol biosynthetic

   pathway and HMG-CoA reductase inhibitors. One of ordinary skill in the art of statins would have

   at least a bachelor‘s degree in organic or medicinal chemistry, a general working knowledge of

   statins; several years of bench work in organic molecule synthesis, some general knowledge of




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   biochemistry and enzymology, knowledge of stereochemistry of pharmaceutically active

   compounds; and knowledge of resolving racemates.

          97.     In 1989, one skilled in the art would be knowledgeable about the biological pathway

   for the synthesis of cholesterol, including that HMG-CoA reductase is the rate-limiting enzyme in

   the biological pathway for cholesterol produced in an organism. One skilled in the art would also

   know that statins were potent inhibitors of HMG-CoA reductase and that the scientific literature had

   described in vitro assays as methods for testing a compound‘s ability to inhibit cholesterol synthesis.

          98.     One skilled in the art would be aware that mevastatin (compactin) is a natural HMG-

   CoA reductase inhibitor that exists as a single enantiomer. One would also be aware that lovastatin

   (mevinolin), another potent inhibitor of HMG-CoA reductase, had been isolated and was structurally

   very similar to compactin. One would know that both mevastatin and lovastatin have lactones in the

   R-trans configuration.

          99.     One skilled in the art would also be aware that pravastatin (1979), simvastatin (1981),

   and fluvastatin (mid-1980s) were developed/isolated prior to 1989.

          100.    One skilled in the art would understand that pharmaceutical research into improved

   inhibitors of HMG-CoA was focused on analogues of known statins. One would be aware that

   researchers were retaining the lactone ring while investigating substitutions on the remainder of the

   molecule.

          101.    One skilled in the art would know that the ring-opened form of the upper lactone

   portion of the previously discovered statins is significantly more active in inhibiting HMG-CoA

   reductase than the lactone (closed-ring) form.

          102.    One skilled in the art would be knowledgeable that HMG-CoA reductase inhibitors

   are enantiomeric, and one enantiomer is likely to be more active than the other. One would know



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   that the biological activity of a racemate in a biological system can be quite different from that of a

   single enantiomer, and one enantiomer is approximately twice as active as the racemate in terms of

   its operation in a target biological system (i.e., one enantiomer is the ―active‖ isomer, while the other

   is ―inactive,‖ and thus the active enantiomer is about twice as active as the racemic mixture). One

   would also know that it is desirable to separate and remove the less active enantiomer.

          103.    One skilled in the art would know that in the case of HMG-CoA reductase inhibitors,

   the R enantiomer was very likely to be the active enantiomer and, conversely, the S enantiomer was

   very likely to be the inactive enantiomer. One would know that these expected activities could be

   known with certainty by isolating and testing the activity of the enantiomers.

          104.    One skilled in the art would understand that racemic mixtures can be separated or

   resolved into the individual enantiomers by well-known methods of separation or resolution.

   Similarly, one would be aware that single enantiomers can be isolated by chiral or achiral synthesis.

          105.    One skilled in the art would be knowledgeable that it was common practice among

   medicinal chemists and others working in the drug discovery field in 1989 to use a single structural

   formula to represent both enantiomers individually as well as mixtures of enantiomers. One would

   be similarly aware that whether a diagram depicting the structural form for a molecule or class of

   molecules shows a particular stereochemistry configuration (whether absolute or relative) depends

   on the context in which the diagram appears. One would know that if a diagram of a single

   enantiomer was intended to depict a racemate, to the exclusion of the enantiomer, it was possible to

   add an additional descriptor, such as (+/-), RS, or (‗rac‘), which would make it clear that the

   structure represented only a racemate.

          106.    One skilled in the art, given the ‘893 original Lipitor patent, would have known that

   compounds in the structural formula I were racemic, that there were a discreet number of pure



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   optically active enantiomers possible from the structural formula, and that there were known

   methods for dissolving the racemic mixture into the pure optically active isomers.

          2.      The application: Warner-Lambert fraudulently claims the R-Trans enantiomer
                  is ten times more active than the racemate.

          107.    On July 21, 1989, Warner-Lambert submitted a patent application for the optically

   pure active R-trans isomer, i.e., for the R-trans form of the ring-opened acid described in the ‗893

   patent: [R-(R*R*)]-2-(4-fluorophenyl)-β,δ-dihydroxy-5-(1-methylethyl)-3-phenyl-4-

   [phenylamino)carbonyl]-1H-pyrrole-1-heptanoic acid and ―its lactone form and salts thereof.‖

   Roth was the applicant. The patent application was signed and submitted by a Warner-Lambert

   employee. The application would eventually lead (albeit by fraud) to the issuance of the ‘995

   enantiomer patent.

          108.    Roth was the inventor and applicant; as part of the application, Roth provided a

   declaration acknowledging his duty to disclose information material to the examination of the

   application to the PTO, pursuant to 37 CFR §§ 1.56 - 1.63. Roth appointed Warner-Lambert‘s

   patent attorneys as his attorneys/agents and authorized them to prosecute the application. He further

   directed that all correspondence related to the patent application be sent to Warner-Lambert attorney

   Joan Thierstein. The application itself was signed and submitted by a Warner-Lambert employee,

   Elizabeth M. Anderson.

          109.    The application for the enantiomer patent was prosecuted from 1989 to 1993. The

   back and forth between Warner-Lambert and the PTO over those years demonstrates the materiality

   of Warner-Lambert‘s misrepresentations.

          110.    In the application, Warner-Lambert stated as fact that, ―[i]t is now unexpectedly found

   that the enantiomer having the R form of [a] ring-opened acid [described in the ‗893 patent] …




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   provides surprising inhibition of the biosynthesis of cholesterol.‖8 Warner-Lambert further stated as

   fact that ―an ordinarily skilled artisan may not predict the unexpected and surprising inhibition of

   cholesterol biosynthesis of the present invention in view of [prior] disclosures.‖ In support of these

   claimed facts, Warner-Lambert presented only one piece of evidence: a short table (the ―CSI table‖)

   stating that Warner-Lambert‘s Cholesterol Synthesis Inhibition (―CSI‖) assay data ostensibly

   showing the R-trans enantiomer is one hundred-times more active than the S-trans enantiomer, and

   ten-times more active than the racemate, in inhibiting the synthesis of cholesterol:




              111.     Warner-Lambert stated as a fact that the ―present invention‖ — the R-trans

   enantiomer (regardless of the salt form it might take) – was ten times more powerful than its

   racemate in inhibiting cholesterol synthesis based on the data presented in the CSI table.

              112.     A CSI assay measures the ability of a compound to inhibit cholesterol biosynthesis

   along the entire cholesterol biosynthesis pathway and is one of the most commonly used methods to

   test a compound‘s ability to inhibit the synthesis of cholesterol in vitro. The CSI test does not

   identify the specific step in the cholesterol biosynthetic pathway that is being inhibited, nor is it

   specific to HMG-CoA reductase. The results of a CSI assay are reported as an IC50 value, the




   8
       All emphasis appearing in quotations has been added, unless otherwise noted.



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   concentration of a test compound that produces 50% inhibition in the conversion of cholesterol-[14C]

   acetate to radioactive cholesterol.9

           113.     One skilled in the art of statins in 1989 — and indeed one skilled in the art today —

   would have expected the active R-trans enantiomer to be about twice as active as the racemate in

   inhibiting cholesterol synthesis. Activity of one enantiomer that is more than ten times that of the

   racemate would have been ―unexpected‖ and ―surprising‖ if the findings were based on true or

   accurate data. In truth, they were not.

                    a.      The CSI table is both misleading and affirmatively false.

           114.     Warner-Lambert‘s biological data — the CSI table — was both affirmatively false

   and intentionally presented in a misleading manner. The CSI table purports to present reliable

   scientific data. It does not. In truth, it contains limited data cherry-picked from multiple flawed tests

   conducted over several years using different formulations of various atorvastatin salts. And the

   biological data is false: the reliable data actually shows that the R-trans enantiomer is, as expected,

   only about two times more active than the racemic mixture — not the tenfold increase Warner-

   Lambert claimed.

           115.     The CSI table is false and misleading because it does not present reliable data. CSI

   assays can vary greatly from one test to another. Warner-Lambert‘s CSI table does not disclose the

   source of its data and fails to indicate the number of CSI assays performed, the degree of variation in

   the test results, what molecules were tested, the time period over which the assays were run, or

   whether the results presented were drawn from multiple tests. Given this lack of specificity, a

   skilled addressee would conclude that (1) Warner-Lambert would not have included the CSI table in

   9
     Two other commonly used methods of measuring a compound‘s inhibition of cholesterol are the in vivo Acute
   Inhibition of Cholesterol Synthesis (―AICS‖) assay and the in vitro CoA Reductase Inhibition (―COR‖) assay. The COR
   assay measures a compound‘s ability to inhibit HMG-CoA reductase specifically, but also is used to quantitatively
   compare the biologic activity of compounds. .



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   the specification in such an unqualified way unless the data had been confirmed by a number of

   repeat assays and (2) it fairly depicted all such appropriate data.

          116.    While not apparent from the face of the specification, Warner-Lambert claimed in

   subsequent litigation that the CSI table was created by averaging the results of all of the available

   CSI screens. This was not true. Warner-Lambert ran a number of CSI assays prior to applying for

   the ‘893 and ‘995 patents — over a multi-year period and on various salt formations — as it tested

   the R-trans enantiomer of structural formula I. The results fluctuated wildly. Warner-Lambert

   cherry-picked from among the results — not using all the results — in order to generate a table that

   purportedly supported the claim of ―surprising activity.‖

          117.    For example, the CSI table combines results from a number of different CSI assays

   and compares them to a separate CSI assay. But the standard in the 1980s for giving numbers of the

   kinds found in the CSI table was to conduct repeated head-to-head tests; Roth himself has

   acknowledged that head-to-head testing provides the best way to compare quantitative differences in

   activity. However, the data presented to the PTO for the R-trans enantiomer and S-trans enantiomer

   were taken from a single run of the same experiment: CSI 120. And in bizarre contrast, the data

   collected for the racemate represents an ―average‖ of five separate assays: CSI 92, CSI 93, CSI 95,

   CSI 102, and one of three recorded values from CSI 118.




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                             Figure 7: Source of Data Presented in CSI Table.


                                   IC 50                                      Original           IC 50
        Compound                                                  Source
                             (micromoles/liter)                                Form        (micromoles/liter)

                                   .0044
     R-trans Enantiomer                                          CSI 120     Sodium Salt        .00444

                                    .44
     S-trans Enantiomer                                          CSI 120     Sodium Salt          .44

                                   .045
         Racemate                                                 CSI 92       Lactone           .0346


                                                                  CSI 93       Lactone           .0275


                                                                  CSI 95       Lactone           .0631


                                                                 CSI 102       Lactone           .0912


                                                                 CSI 118     Sodium Salt         .0097




          118.      Second, taking an average across different days and experiments is not appropriate.

   The five ―averaged‖ assays were conducted over a three-year period from July 1985 through October

   1988. When taken as a whole, the results of these five experiments reported for the racemate are so

   variable that they cannot be averaged together with any reliability and do not provide a scientifically

   meaningful result.

          119.      Third, it is also inconsistent with accepted pharmaco-chemistry to ―average‖ the

   results of CSI values derived from both opened lactones and separately synthesized sodium salts.

   Four of the assays reflected in the racemate data in the CSI Table started with the lactone (unopened)

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   form of racemic atorvastatin and were treated with sodium hydroxide in an effort to open the lactone

   ring. In contrast, one of the assays started with an opened formulation of the racemic atorvastatin,

   the sodium salt.

          120.    One skilled in the art would be aware that if lactone rings do not fully open when

   exposed to sodium hydroxide, the presence of inactive material will result in a higher IC50 value —

   indicating the compound is less active than it actually is. One skilled in the art would also expect

   that the IC50 values for the racemic lactones in each of the four CSI assays would be similar, not

   report a four-fold difference — from .02 (CSI 93) to .09 (CSI 102). One skilled in the art would also

   expect the IC50 values for the racemic lactones (if properly and fully opened) to be similar to the

   value of the racemic sodium salt, not report a tenfold difference — from .009 (CSI 118) to .09 (CSI

   120). Such disparate values show that not all of the lactone rings opened during the test and/or other

   solubility issues that compromise the accuracy of the data. The large differences were caused by

   solubility differences, not by the ―inherent‖ differences in ability to retard synthesis.

          121.    Notwithstanding the inconsistency with accepted science of using an average value,

   the table does not even constitute a true average. As shown in Figure 8 below and although

   available, Warner-Lambert did not include all results from all conducted CSI assays, omitting the

   results of CSI 107, CSI 111, CSI 112, CSI 119, CSI 120, CSI 122, CSI 123, CSI 124, CSI 136, and

   CSI 138.




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                                                   Figure 8: CSI Data

   CSI#       Date      Racemic     R-trans    S-trans    Racemic     R-trans   S-trans   Racemic   R-trans   S-Trans
                        Lactone     Lactone    Lactone    Sodium      Sodium    Sodium    Calcium   Calcium   Calcium
                                                            Salt       Salt      Salt       Salt     Salt       Salt

   92       7/24/85     .0346

   93       8/27/85     .0275

   95       10/15/85    .0631

   102      1/15/87     .0912

   107      7/20/87                 .0355      .631

   111      2/25/88                                                                       .0024

   112      3/28/88                                                                       .0776

   118*     10/24/88                                      .00977                          .257      .0251     > 1.0

                                                          .00913                          .234      .0216

   119      11/15/88                                                                      .00324

   120      2/2/89                                                    .00498    .444

   122      4/21/89                                                   .00313

   123      5/31/89                                                                                 .00948

   124      6/12/89                                       .001

   136      7/31/91                                                   .0322

   138      1/31/95                                                   .0169

   * = test calculated multiple values using different methods.
   Blue = Roth used in CSI table
   Yellow = Roth reported in the Roth Declaration (discussed infra)



            122.      Depending on which assays were included or excluded, the CSI table could have, and

   would have, reported very different results. For example, Roth acknowledged that had the results of

   CSI 107 been included in his ―average,‖ there would be no surprising or unexpected result. Rather,


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   had CSI 107 been included, the CSI table would only show, as expected, a twofold increase in the

   activity of the R-trans enantiomer compared to the racemate. Roth has claimed he did not include

   CSI 107 because he believed that the compounds it tested were not enantiomerically pure; yet, he

   included the results of CSI 120, which suffered from a not substantially different level of

   contamination.

          123.      Similarly, the CSI table would have shown only this expected twofold increase had

   Warner-Lambert excluded the results of CSI 118 from the ―average.‖

          124.      No matter how Warner-Lambert, Roth or others at the company rigged the numbers,

   the fact is that the R-trans enantiomer is only twice as active as the racemate.

                           (1)    Warner-Lambert’s representations that the R-trans enantiomer
                                  was ten times more active than the racemate were affirmatively
                                  false and misleading.

          125.      Warner-Lambert‘s claim that the R-trans enantiomer has surprising activity compared

   to the racemate is false. The only consistent test results show that the R-trans enantiomer is, as

   expected, only about twice as active as the racemic mixture.

          126.      Warner-Lambert, including Thierstein and Roth, did not tell the PTO that it possessed

   data that expressly contradicted representations in its patent specifications.

          127.      In addition to CSI assays, Warner-Lambert assessed the activity of the R-trans

   enantiomer, S-trans enantiomer, and the racemate through the in vivo AICS assay. The AICS assay

   — the only screen to be conducted twice and with consistent results — showed a twofold increase in

   activity of the R-trans enantiomer over the racemate. Warner-Lambert‘s own research report, dated

   May 21, 1989, states that the R-trans enantiomer ―was approximately twofold more active at

   inhibiting cholesterol synthesis acutely in vivo compared to the racemic mixture …. This is to be

   expected if 50% of the racemic salt is the inactive isomer.‖

          128.      Warner-Lambert did not submit the AICS data to the PTO.
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          129.    A June 1, 1989 report signed by Roth also reported a twofold increase in activity of

   the active enantiomer over the racemate: ―[a]s expected, [the R-trans calcium salt] was twofold more

   potent than … the racemic calcium salt, which contains 50% inactive isomer.‖ Other internal

   memoranda from September and December 1989 similarly conclude that, as expected, the R-trans

   enantiomer was twice as active as the racemate. But Warner-Lambert never shared its own

   conclusion with the PTO.

          130.    Warner-Lambert also assessed the activity of the R-trans enantiomer, S-trans

   enantiomer, and the racemate through the in vivo COR assay. The COR data was consistent with a

   twofold increase in activity of the R-trans enantiomer over the racemate. But Warner-Lambert never

   submitted the COR data to the PTO.

          131.    Roth and Warner-Lambert knew that the PTO would read the CSI Table as fairly

   reflecting all of the appropriate CSI data available to Warner-Lambert for the relevant compounds,

   and assume the data as a whole provided reasonable grounds for the findings set forth in the CSI

   Table. Roth and Warner-Lambert intended that the CSI table be read as suggesting a tenfold

   increase in activity and therefore supporting patentability.

          132.    Roth and Warner-Lambert also knew that the CSI data did not provide any

   ―surprising‖ results. After all, Warner-Lambert scientists, including Roth, had conducted the various

   CSI assays over a period of more than three years. Certainly, if the assays had disclosed anything

   surprising — and certainly something as surprising that the isolated R-trans enantiomer would have

   ten-fold biological activity over the racemic mixture — that would have been learned, in real time,

   as the tests unfolded. But they did not. None of Warner-Lamberts‘ internal documents (produced to

   date in related litigation) or any of the literature published by Roth and his team concerning the

   discovery of atorvastatin refers to, or even suggests, a ten-fold increase in activity.



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           133.   Instead, it was only after senior Warner-Lambert managers (not the scientists)

   instructed Roth to go back and ―find‖ something in the data, and after an invalid, hodge-podge

   analysis of different tests on different compounds was cobbled together, that the claimed ten-fold

   biological activity materialized.

           134.   Furthermore, accepted chemistry in 1989 provided for conducting controlled testing

   of the proposed hypothesis, i.e., that there were some ―surprising‖ attributes of the isolated R-trans

   enantiomer over the racemic mixture. This would have entailed, then, Warner-Lambert conducting

   new tests in response to senior managements‘ demand to find something surprising. Instead, the

   entire direction, dictated by senior Warner-Lambert management, was not to conduct acceptable

   science in order to make fair and accurate representations to the PTO. The instructions were simply

   to go back and gin-up old data to give an impression, albeit false, of some type of ―surprising‖

   attribute.

           3.     The initial rejection: the PTO determines the claimed compounds are
                  anticipated by the ’893 patent.

           135.   On March 22, 1990, pursuant to 35 U.S.C. § 102(b), the PTO rejected all claims in

   the initial enantiomer application as anticipated by, i.e., covered by, the ‘893 patent. The PTO

   determined that the ‘893 patent ―restrict[ed] the invention to the trans-isomers and… specif[ied] the

   R*, R* configuration. Thus, the claimed compounds, salts, compositions, and method are

   considered to be anticipated by [the ‘893 patent].‖ Put simply, the PTO rejected Warner-Lambert‘s

   enantiomer patent application because the invention was already covered by the claims in the

   original Lipitor patent.

           136.   The concepts of ―anticipation‖ and ―non-obviousness‖ are distinct but related

   concepts under patent law. A proposed invention may be rejected under 35 U.S.C. § 102(b) as being

   anticipated, that is, already covered by, a previous patent. Alternatively, even if a proposed


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   invention is not identically disclosed or described as set forth in § 102, under 35 U.S.C. § 103 a

   patent may not issue for obviousness ―if the differences between the subject matters sought to be

   patented and the prior art are such that the subject matter as a whole would have been obvious at the

   time the invention was made to a person having ordinary skill in the art to which said subject matter

   pertains[.]‖ Because the patent examiner concluded that the ‘893 patent anticipated (that is, already

   covered), the isolated R-trans enantiomer form of atorvastatin, the examiner did not need to reach

   the concept of obviousness.

          137.    In response to this rejection, Warner-Lambert argued against anticipation on the

   technical grounds that ―the presently claimed compounds are for individual enantiomers and

   therefore differ from the teaching in [the ‘893 patent] only to mixtures of enantiomers.‖ Warner-

   Lambert argued that the ‘893 patent did not specifically identify, and therefore did not technically

   ―anticipate,‖ the R-trans enantiomer:

                  In molecules of the kind disclosed in [the ‘893 patent], each possible
                  isomer also exists in two forms which depend on a configuration
                  which is expressed in absolute terms relative to the remainder of the
                  molecule. The forms are denoted as an R form and an S form. These
                  two forms are recognized by an ordinarily skilled artisan to be
                  enantiomeric forms each having a specific chirality. In [the ‘893
                  patent] the disclosure is not limited to compounds having such a
                  specific chirality. Thus, each isomer of [the ‘893 Patent] is a mixture
                  of enantiomers and not the currently claimed individual enantiomers
                  having an R chirality.
          138.    In response, the PTO examiner again rejected Warner-Lambert‘s argument that the

   original Lipitor patent did not anticipate the R-trans enantiomer and, on November 7, 1990, issued a

   final rejection on anticipation grounds. The examiner determined that the ‘893 patent described the

   R-trans enantiomer of atorvastatin:

                  Applicant‘s arguments… have been carefully considered, but such are
                  not persuasive. Where a reference discloses a genus or compound of
                  similar structure which are sufficiently limited in number, the


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                  reference is deemed to provide description of those compounds just as
                  specifically as if they were identified by name.
   The examiner further observed that to isolate the claimed invention from the compounds disclosed in

   the ‘893 patent, ―one merely has to select from the limited possibility of isomers to arrive at the

   claimed invention, and separate them using conventional techniques.‖

          4.      The renewed application: Warner-Lambert submits the Roth declaration, again
                  falsely claiming the R-trans enantiomer is ten times more active than the
                  racemate.

          139.    On February 29, 1991, Warner-Lambert filed a request for retroactive extension of

   time for revival of the application, a preliminary amendment, and a declaration by Roth (―Roth

   declaration‖). The declaration, which was submitted to overcome potential rejection based on

   obviousness, again claims a ―surprising‖ and ―unexpected‖ tenfold increase in activity. It falsely

   professes to present seemingly objective evidence of an unexpected characteristic of the isolated R-

   trans enantiomer, and Warner-Lambert claimed this characteristic would allow issuance of an R-

   trans enantiomer patent despite the claimed invention being prima facie obvious in light of the ‘893

   patent. The Roth declaration simply presented more of the same: affirmatively false and misleading

   biological data.

                  a.      Warner-Lambert admits the R-trans enantiomer is prima facie obvious.

          140.    While Warner-Lambert presented technical reasons as to why the proposed R-trans

   enantiomer patent was not ―anticipated‖ by the original Lipitor patent, Warner-Lambert also raised,

   on its own, the issue of obviousness. Indeed, Warner-Lambert admitted that the R-trans enantiomer

   was prima facie obvious in light of the ‘893 patent. In its remarks in support of the renewed patent

   application, Warner-Lambert directed the examiners‘ attention to a decision of the U.S. Court of

   Customs and Patent Appeals, In re May and Eddy, 197 USPQ 601, 607 (1978), quoting: ―As

   recognized in In re Williams, 36 CCPA 756, 171 F.2d 319, 80 USPQ 150 (1948), the novelty of an


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   optical isomer is not negated by the prior art disclosure of its racemate.‖10 ―Clearly,‖ Warner-

   Lambert asserted, ―this case law is applicable here.‖

            141.     In May, the applicant conceded prima facie obviousness, but submitted ―rebuttal

   evidence‖ in the form of four declarations that it was ―unexpected‖ that the compounds in question

   did not exhibit the addictive qualities of most opiates. The PTO refused to consider the rebuttal

   evidence but the U.S. Court of Customs and Patent Appeals overturned the refusal and made its own

   findings as to whether (i) the record supports non-addictiveness and (ii) non-addictiveness would

   have been unexpected to one of ordinary skill in the art. ―[B]alancing the prima facie case of

   obviousness made out by the PTO against appellants‘ objective evidence of nonobviousness,‖ the

   Court concluded, ―the subject matter of claims 11-13 would not have been obvious to one of

   ordinary skill in the art.‖ May, therefore, stands for the proposition that when a claimed invention is

   prima facie obvious, an applicant may provide declarations identifying objective evidence of a

   surprising characteristic to overcome an obviousness rejection.

            142.     For the enantiomer application, Warner-Lambert purported to do just that. In the

   remarks, Warner-Lambert states,

                     Following the Williams case Applicant also now provides by a
                     declaration a comparison among each enantiomer and mixture of
                     enantiomers. This comparison is provided to overcome the Roth
                     reference [that is, the reference in the Original Lipitor ‘893 patent] of
                     the present rejection to facilitate a finding of patentability and moving
                     the prosecution toward resolution of pertinent issues. In other words,
                     although Examiner has not included a rejection under 35 U.S.C. 103
                     [for obviousness] Applicants are including a rebuttal of such rejection
                     to comply with the Williams case law.




   10
     The facts here are quite distinct from Williams. In Williams, as here, the applicant sought a patent on a particular
   enantiomer. The Williams court determined that the racemic compound had been disclosed in the prior art, but (in
   contrast to this situation) the fact that the compound was racemic had not been disclosed prior to the priority date.



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   Warner-Lambert further describes the declaration as ―provid[ing] the data as set out in the present

   application in a manner to provide patentability to the application,‖11 and states, ―in other words, the

   declaration is submitted to provide evidence of patentability to the instant invention.‖

                     b.       The Roth declaration is affirmatively false and misleading.

            143.     Warner-Lambert submitted the Roth declaration in an effort to overcome the

   otherwise inevitable rejection on obviousness grounds. The Roth declaration states ―the

   antihypercholesterolemia properties of [―R-enantiomer,‖ or ―Compound I‖] and [―S-enantiomer,‖ or

   ―Compound II‖] and mixtures thereof are assessed using essentially the CSI screen that is disclosed

   in [the ‘893 patent].‖ The declaration continues, claiming that the R-trans enantiomer has ―activity

   greater than fifty-fold more than that of Compound II and which indicates activity at least ten-fold

   more than that of the racemate,‖ and contains the following table:




            144.     The Roth declaration gives the impression that all appropriate, reasonably available

   information is represented in the declaration when it describes ―the datum from the compound I‖ and

   ―the datum from the racemate‖ of that compound. The declaration further claims that ―the

   11
      Warner-Lambert thus at least tacitly acknowledges that the CSI table previously submitted in the patent specification
   is not sufficient to provide patentability.



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   differences in the data … among Compounds I, II and racemate shows the activity of Compound I is

   surprising and unexpected because if the Compound II is accepted as inactive, the activity of the

   Compound I would be expected to be only twice that of the racemic mixture.‖12 The declaration

   falsely states that the data ―indicates activity at least ten-fold more than that of the racemate.‖

            145.     The Roth declaration, like the earlier CSI table, purports to present reliable scientific

   data but does not disclose the source of that data.13 Given this lack of specification, a skilled

   addressee would conclude that Warner-Lambert would not have included the data in paragraph 8 of

   the declaration in such an unqualified way unless the data had been confirmed by a number of repeat

   assays. In fact, the Roth declaration presents unreliable data from a single, deeply flawed screen —

   CSI 118. The declaration is false and misleading.

                                                 Figure 9: CSI 118 data


   CSI#      Date       Racemic     R-trans     S-trans    Racemic     R-trans    S-trans    Racemic     R-trans    S-Trans
                        Lactone     Lactone     Lactone    Sodium      Sodium     Sodium     Calcium     Calcium    Calcium
                                                           Salt        Salt       Salt       Salt        Salt       Salt

   118*      10/24/88                                      .00977                            .257        .0251      > 1.0

                                                           .00913                            .234        .0216
   * = test calculated multiple values using different methods

   Blue = Roth used in CSI table (discussed supra)

   Yellow = Roth reported in the Roth Declaration




   12
      Roth‘s declaration concludes with a paragraph stating, in part, ―these statements are made with the knowledge that
   willful false statements and the like so made are punishable by fine or imprisonment, or both… and that such willful
   false statements may jeopardize the validity of the above identified US patent application… or any patent issuing
   thereon.‖
   13
      The renewed patent specification also contains a chart (the ―CSI Chart‖) showing ten times greater activity of the R-
   trans enantiomer than the corresponding racemate. The information contained in this chart is identical to that presented
   in the original application.



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            146.     CSI 118 used all three forms of calcium salt in a single head-to-head assay. There is

   no indication that it was ever re-run to confirm its outcome.14 The test results are unusable for a

   number of reasons.

            147.     First, in order to obtain accurate IC50 values, the concentration of the test solutions

   must be known prior to testing; but Warner-Lambert did not determine the concentration of its test

   solutions prior to conducting the CSI 118 test. Without accurate information about the concentration

   of the solutions used in the CSI 118 test, the IC50 values obtained in CSI 118 cannot be used to

   demonstrate a tenfold increase in activity of the R-trans enantiomer over the racemate.

            148.     Second, Warner-Lambert‘s own lab books show that the compounds in CSI 118 did

   not dissolve completely in the stock solution. Using non-homogeneous suspensions can result in

   variations in the concentrations of the compound in the assay solution leading to wide variation in

   the results obtained. Given this limitation, the most that the CSI 118 results can be said to determine

   is whether a compound has any activity, not whether a compound has a twofold, threefold, or tenfold

   increase in activity over another compound.

            149.     Third, an acceptable CSI test should record similar results for the racemic sodium salt

   and the racemic calcium salt. (Roth has agreed that, in general, the results for the racemic sodium

   salt and the racemic calcium salt should be equivalent or similar.) Yet, in CSI 118, the results of the

   racemic sodium salt and racemic calcium salt are vastly different, showing as much as a twenty-five-

   fold difference. The difference was so great that the IC50 value for the R-trans enantiomer calcium

   salt showed far less potency than the racemic sodium salt — that is, the R-trans enantiomer of the

   calcium salt was less active than the racemate of the sodium salt. This difference should have been a

   14
      Roth has admitted that he did not conduct any additional tests to confirm that the biological data presented in the
   patent was in fact correct: ―it is true that [the biological data that was included in the patent] went out without any
   subsequent tests being asked for by me to repeat that data.‖



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   red flag that something was wrong with the screen, likely a problem related to the difficulty with

   solubility of the compounds.

          150.    Finally, the claim in the Roth declaration of ten-fold greater activity is also

   affirmatively false because the activity of the isolated R-trans enantiomer is not in fact ten times

   greater than the racemate. Had Warner-Lambert employed an acceptable scientific testing process,

   the data would have revealed the R-trans enantiomer had at best a twofold advantage over the

   racemate, an advantage that would have been expected, not ―unexpected‖ or ―surprising.‖

          151.    Roth and Warner-Lambert were aware of the numerous problems with CSI 118

   identified above and knew that the results of CSI 118 were not scientifically sound. Yet, in the face

   of radically different values for the sodium and calcium salts, solubility problems, unknown solution

   concentrations, and results that showed the racemate of one salt was more potent than the R-trans

   enantiomer of another salt, they used this questionable and unreliable data to support the false claim

   that the isolated R-trans enantiomer has ten times greater inhibition of cholesterol synthesis than the

   racemate, and specifically claimed this as ―a surprising level of activity‖ which, in turn, supported

   patentability. Warner-Lambert and Roth admit this: Dr. Roth has admitted under oath that he

   submitted CSI data for the purpose of demonstrating ―a surprising level of activity‖ which therefore

   supported patentability:

                  Q.      So [the biological data] was put in to demonstrate this
                          surprising level of activity for the purpose of obtaining a
                          patent, was it not?
                  A.      [Dr. Roth:] Yes, I guess you would say that that would be true.
                          I mean, the data supported a surprising level of activity, which
                          we thought would be novel and surprising and therefore would
                          support patentability.

          152.    Warner-Lambert knew that the PTO would read the Roth declaration as fairly

   reflecting all of the appropriate CSI data available to Pfizer for the relevant compounds, and that the


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   data as a whole provided reasonable grounds for the findings set forth in the Roth declaration. Roth

   and Warner-Lambert intended that the Roth declaration be read as suggesting a tenfold increase in

   activity and therefore supporting patentability.

          5.      The final rejection: the PTO determines the R-trans enantiomer is anticipated.

          153.     On September 16, 1991, the PTO examiner issued a final rejection of the follow-on

   patent application, rejecting all claims under 35 U.S.C. § 102(b) as being anticipated by the ‘893

   patent for the reasons set forth in the two rejections issued in 1990.

          6.      The appeal: the PTO determines the R-trans enantiomer is prima facie obvious.

          154.    On January 15, 1992, Warner-Lambert appealed the examiner‘s rejection to the Board

   of Appeals, claiming ―[t]he R isomer as claimed appears to be at least 100 times more active than its

   corresponding S isomer and more than 10 times more active than the mixture. Under ordinary

   circumstances one would have expected only a two-fold difference between the particular R isomer

   and the mixture.‖ Warner-Lambert goes further, stating ―the present invention describes the

   particular R isomer which is found to have greater than 10 times the activity of the compound

   described in the prior art reference, namely, the racemic mixture,‖ and ―the compound of the present

   invention … does not produce substantially the same result since it has greater than 10 times the

   activity than the reference compound,‖ and ―the R isomer is the most desired and the most

   surprisingly active isomer of the two possibilities if one is to select from the trans compounds[.]‖

          155.    Acknowledging that the isolated R-trans enantiomer is prima facie obvious over the

   ‘893 patent, Warner-Lambert argued that the obviousness is overcome by the surprising and

   unexpected activity claimed in the Roth declaration: ―The examiner‘s rejection is erroneous as a

   matter of law by applying the facts of the present case to the wrong law. The issue here is whether

   an optical isomer is novel over its prior disclosed racemic mixture. The law as state[d] in May and

   Eddy affirming In re Williams says yes.‖

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          156.    On March 24, 1992, the examiner filed an answer to Warner-Lambert‘s appeal. The

   examiner alleged no new grounds for denial of the application, but reiterated the previously

   disclosed grounds, stating, ―even if a preferred isomer were not disclosed [by the ‘893 patent], one

   skilled in the art expects one of the individual isomers to be more active than the other since this,

   too, is knowledge contemporary in the art.‖

          157.    On October 19, 1992, the Board of Appeals overturned the examiner‘s rejection for

   anticipation of the application, concluding that the ‘893 patent

                  at best, only describes the trans racemate containing the R-trans and
                  the S-trans isomers in admixture. Nowhere does [the ‘893 patent] state
                  or suggest which optical isomer is preferred and, moreover, does not
                  specifically mention how one skilled in the art could make the pure
                  optical isomer separately. In view of the above, we are unable to
                  subscribe to the examiner‘s contention that the [‘893 patent]
                  anticipates the claimed subject matter.

          158.    However, the Board recommended to the examiner that upon remand the patent

   should be rejected on the basis of obviousness:

                  Upon further prosecution of this application before the examiner, we
                  recommend that the examiner analyze the claimed subject matter
                  under the provisions of § 103 of 35 USC. An obviousness rejection of
                  claims directed to an optically pure isomer appears to be in order
                  when, as here, (1) the product of the prior art is known to be racemic
                  and (2) where methods for resolving the racemic mixture into the pure
                  optically active isomers are known to those skill[ed] in the art.

          7.      The ’995 patent issues: PTO relies on biological data to overcome obviousness.

          159.    On March 16, 1993, apparently without any further formal proceedings or briefing,

   the PTO issued a Notice of Allowability for the follow-on, isolated R-trans enantiomer patent

   application. The ‘995 patent issued on December 28, 1993.

          160.    Warner-Lambert had presented the results of CSI screens in both the ‘995 patent

   specification and the Roth declaration to support the contention that the R-trans enantiomer is

   surprisingly and unexpectedly ten times more active than the racemate and therefore not obvious in

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   light of the ‘893 patent. Warner-Lambert made this representation in the original application, the

   Roth Declaration, the appeal to the PTO, and in the final patent specification. This is the only

   ―surprising‖ activity of the isolated R-trans enantiomer that is ever discussed in the ‘995 patent

   application, and the sole reason Warner-Lambert overcame an obviousness rejection.

          161.     The PTO relied on the Roth declaration and the CSI table to find that the R-trans

   enantiomer was not obvious in light of the ‘893 patent. The Board of Appeals explicitly (i) directed

   the examiner to re-evaluate the application for obviousness, and (ii) stated that an obviousness

   rejection appeared to be appropriate. The examiner did precisely that. The examiner relied on

   Warner-Lambert‘s claim of ―surprising‖ and ―unexpected‖ activity and determined that the charts

   presented in support of that claim (both in the patent specification itself and the Roth declaration)

   were sufficient to overcome a rejection on obviousness grounds. The only ―surprising‖ or

   ―unexpected‖ characteristic of the isolated R-trans enantiomer Warner-Lambert claimed was the

   tenfold increase in activity compared to the racemic mixture. The only data presented in support of

   those claims were contained in the patent specification (the CSI table) and Roth declaration.

          162.     The inclusion of particular language and data in the patent specification itself

   confirms that the PTO relied on both the claim of surprising and unexpected activity and the data

   submitted in support of that claim. The specification states, ―[i]t is now unexpectedly found that the

   enantiomer having the R form of [a] ring-opened acid [described in the ‘893 patent], …that is [R-

   (R*R*)]-2-(4-fluorophenyl)-β,δ-dihydroxy-5-(1-methylethyl)-3-phenyl-4-[phenylamino)carbonyl]-

   1H-pyrrole-1-heptanoic acid, provides surprising inhibition of the biosynthesis of cholesterol.‖ The

   specification further states ―an ordinarily skilled artisan may not predict the unexpected and

   surprising inhibition of cholesterol biosynthesis of the present invention in view of [prior]

   disclosures.‖



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           163.     But for Warner-Lambert‘s fraud, the ‘995 patent would never have issued.

   F.      1989-93: Warner-Lambert intended to deceive the PTO to issue the ’995 patent.

           164.     Warner-Lambert‘s false claims and data were made and provided to the PTO with the

   specific intent that the PTO rely on those claims in order to issue a follow-on patent, and with

   knowledge they were false and misleading. Roth and Warner-Lambert knew that the PTO would

   read the CSI table and the Roth declaration as a representation that the results in the table fairly

   reflected all of the scientifically reliable CSI data available to Warner-Lambert for the relevant

   compounds, and that the data as a whole provided reasonable grounds for the findings set forth in the

   CSI table and the Roth declaration. Roth and Warner-Lambert intended that the CSI table and the

   Roth declaration should be read as suggesting a ten-fold increase in activity and therefore supporting

   patentability.

           1.       Warner-Lambert manipulated the existing biological data to show a ten fold
                    increase in activity and Pfizer intentionally presented false information.

           165.     Warner-Lambert manipulated the existing biologic data in order to show a ten-fold

   increase in activity. It did so with specific intent to deceive the PTO.

           166.     Warner-Lambert has acknowledged that head-to-head testing provides the best way to

   compare quantitative differences in activity, yet it did not present such head-to-head data in support

   of its claim of ten-fold activity of the R-isomer over then racemate. Instead, Warner-Lambert

   cherry-picked results from various tests conducted on different days, using different salts, and

   suffering from various flaws and presented these cooked-up results in the CSI Table included in the

   patent specification. Such an extreme departure from accepted chemistry practice — by a company

   fully aware of what accepted chemistry practice would have required — shows knowledge of falsity

   and specific intent to deceive.




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          167.    Warner-Lambert acknowledged that had the results of CSI 107 been included in this

   ―average,‖ there would be no surprising or unexpected result. Warner-Lambert has claimed it did

   not include CSI 107 because it believed that the compounds it tested were not enantiomerically pure;

   yet, it included the results of CSI 120, which suffered from a not substantially different level of

   contamination. Such an extreme departure from accepted chemistry practice shows knowledge of

   falsity and specific intent to deceive.

          168.      Warner-Lambert claimed that it did not provide the data from CSI 119 to the PTO

   because CSI 119 was not a head-to-head comparison, and it claimed it believed that it was

   inappropriate to compare individual data points from different experiments. Yet, Warner-Lambert

   used different data points from multiple experiments to generate the data contained in the CSI table.

   Such an extreme departure from accepted chemistry practice shows knowledge of falsity and

   specific intent to deceive.

          169.    Warner-Lambert included one of the three results from CSI 118 in the CSI table in

   order to show an alleged ten-fold increase in activity. The sodium salt prepared by opening the

   racemic lactone in CSI 92, 93, 95, and 102 should have given substantially identical, or at least very

   similar, values to the racemic sodium salt that was separately prepared in CSI 118. Yet, the results

   for the racemic sodium salt in CSI 118 differ from the results of the four lactone CSI tests by a factor

   of ten. Such an extreme departure from accepted chemistry practice shows knowledge of falsity and

   specific intent to deceive.

          170.    In CSI 118, the results of the racemic sodium salt and racemic calcium salt are vastly

   different, showing as much as a twenty-five-fold difference. The difference was so great, that the

   IC50 value for the R-trans enantiomer calcium salt showed far less potency than the racemic sodium

   salt — that is, the R-trans enantiomer of the calcium salt was less active than the racemate of the



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   sodium salt. This difference should have been a red flag that something was wrong with the screen,

   likely a problem related to the difficulty with solubility of the compounds. Instead, Warner-Lambert

   used this questionable data to support the false claim that R-trans enantiomer has a tenfold greater

   inhibition of cholesterol synthesis than the racemate.

          171.    Warner-Lambert was aware of the numerous problems with CSI 118 identified above

   and knew that the results of CSI 118 were not scientifically sound. Yet, in the face of radically

   different values for the sodium and calcium salts, solubility problems, unknown solution

   concentrations, and results that showed the racemate of one salt was more potent than the R-isomer

   of another salt, Warner-Lambert used this inconsistent outcome to further substantiate its false claim

   that the R-isomer was ten times more active than the racemate in inhibiting cholesterol synthesis.

          172.    Warner-Lambert‘s patent attorneys submitted the false and misleading CSI table

   generated by Roth and others and the false and misleading Roth declaration to the PTO in

   furtherance of a deliberately planned and carefully executed scheme to defraud the PTO to gain

   approval of the ‘995 patent application.

          2.      Warner-Lambert admits the patent specification claims a surprising ten-fold
                  increase in activity.

          173.    At numerous points in the prosecution of the ‘995 patent, Warner-Lambert and Roth

   expressly stated that the activity of the R-trans enantiomer was both surprising and ten-times greater

   than the activity of the racemic mixture. Nonetheless, in subsequent patent litigation, Roth and

   Warner-Lambert tried to shy away from admitting that Warner-Lambert had claimed that the

   surprising feature of the R-trans enantiomer was a tenfold increase in activity over the racemate.

   Warner-Lambert knew that both the CSI table and Roth declaration presented false information

   about the activity of the R-trans enantiomer as compared to the S-trans enantiomer and the racemate.




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   To acknowledge in court that the only claimed ―surprising‖ characteristic was in fact false would

   result in the loss of the ‘995 patent and/or its foreign counterparts.

          174.    Roth‘s evasive testimony on this topic is illustrative:

                  Q.      I suggest to you that you either do or do not rely on those
                          figures. If you want to put out a merely qualitative statement
                          that you have surprising activity you can put it in words. If you
                          put it out in figures that suggests that it is a very surprising
                          level of activity, being a 10-fold difference?
                  A:      But I believe the words we used were a surprising level of
                          activity. We didn‘t say that it was surprising because it was a
                          10-fold difference. We simply said that it was surprising, the
                          numbers suggest 10-fold. But frankly, again, anything more
                          than twofold would be surprising. We didn‘t claim 10-fold in
                          the patent. We said it was surprising.
                  Q:      You didn‘t put a qualification to the numbers that you give in
                          the patent to say ―beware of these numbers. We‘re only really
                          saying that we get a better than two-fold improvement‖; no
                          mention of that, was there?
                  A:      What we say is that the compound has surprising activity and
                          then we put data into the patent which supported the surprising
                          level of activity. I don‘t think that we actually comment on the
                          data except to say that it‘s surprising. The data is what the data
                          is.
                  Q:      The data on its face quantify that is surprising level of activity,
                          does it not, Dr. Roth?
                  A:      There are numbers given, yes.
                  Q:       So it quantifies that surprising level of activity?
                  A:      What do you mean by that?
                  Q:      Do you know what the meaning of the word ―quantifies‖ is?
                  A:      There are numbers that are given. Again, we don‘t make any
                          claims; all we say is that it‘s surprising. The numbers are what
                          the numbers are.

          175.    Roth was ultimately forced to concede that the biological data contained in the patent

   specification purports to show a ten-fold increase in activity, and that it was included in the

   specification for that reason:



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                  Q:      And you wanted those numbers to be taken at face value, did
                          you not?
                  A:      I‘m not sure I know what you mean.
                  Q:      What?
                  A:      The data is what the data is. The data was included to support
                          the rising level of activity. What the numbers suggest is that
                          it‘s something like 10-fold, but we don‘t state that. We simply
                          — what we simply do is we say it‘s surprising.
                  Q:      Isn‘t it a fair reading of this passage on page 8 that having said
                          it‘s surprising that you are saying now here is why and you set
                          out figures which show a 10-fold increase and you don‘t
                          provide any qualification at all to those numbers?
                  A:      That is true. We simply report the data.

           176.   Roth acknowledged, ―[t]he data is what the data is,‖ ―the numbers are what the

   numbers are,‖ and ―the data was included to support the surprising level of activity. What the

   numbers suggest is that it‘s something like 10-fold[.]‖ The numbers show, based on cherry-picked

   test results, regardless of whether particular words appear in the text of the patent, that the R-trans

   enantiomer is ten times more active than the racemate. In reality, the R-trans enantiomer is, as

   expected, only about twice as active as the racemate.

           3.     Warner-Lambert intended for the PTO to rely on the false data and claims.

           177.   Roth has admitted under oath that he submitted the selected CSI data for the purpose

   of supporting a surprising level of activity which therefore supported patentability: ―the biological

   data that was included in the patent I felt demonstrated and supported a surprising level of biological

   activity.‖

                  Q.      So [the biological data] was put in to demonstrate this
                          surprising level of activity for the purpose of obtaining a
                          patent, was it not?
                  A.      Yes, I guess you would say that that would be true. I mean, the
                          data supported a surprising level of activity, which we thought
                          would be novel and surprising and therefore would support
                          patentability.


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   G.     1996: The FDA approves Lipitor, and the original Lipitor patent provides years of
          patent protection.

          178.    On June 17, 1996, Warner-Lambert submitted a new drug application under § 505(b)

   of the FDCA and 21 C.F.R. § 314.50, seeking approval to sell atorvastatin calcium. The formulation

   developed for FDA approval and commercialization was atorvastatin calcium, i.e., the isolated R-

   trans enantiomer formulated as a calcium salt. On December 17, 1996, the FDA approved

   atorvastatin calcium — now brand named ―Lipitor‖ — for the treatment of hypercholesterolemia and

   mixed dislipidemia. The FDA initially approved 10 mg, 20 mg, and 40 mg tablets, adding approval

   of 80 mg tablets on April 7, 2000.

          1.      Warner-Lambert lists the ’893 and ’995 patents in the Orange Book.

          179.    Following approval, under 21 U.S.C. § 355, Warner-Lambert listed both the ‘893

   patent and the fraudulently-obtained ‘995 patent in the FDA Orange Book. When it did so, Warner-

   Lambert knew that it had procured the ‘995 patent by actual fraud on the PTO. By listing both

   patents in the Orange Book, Pfizer forced any generic company seeking approval of an ANDA for

   generic atorvastatin calcium to file a Paragraph IV certification as to both the ‘893 and ‘995 patents

   if the generic company wished to enter the market prior to the expiration of both patents. Such a

   certification would, Pfizer knew and intended, trigger the ability to file infringement litigation,

   which in turn would trigger the usual Hatch-Waxman statutory delays for ANDA approval by the

   FDA (i.e., the 30-month stay of ANDA approval).

          180.    At the time of FDA approval of Lipitor, the ‘893 patent was scheduled to expire on

   May 30, 2006. The ‘995 patent, by contrast, was scheduled to expire on December 28, 2010.

          2.      The ’893 original Lipitor patent protected the Lipitor franchise for years.

          181.    Shortly after FDA approval, Warner-Lambert filed with the PTO an application under

   35 U.S.C. § 156 for an extension of the term of the ‘893 patent. Section 156 provides that the period


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   of patent protection may be extended in order to account for the time lag between the issuance of a

   patent covering the active ingredient in a new drug and FDA approval.

             182.   Warner-Lambert asked the PTO to extend the period of market exclusivity granted by

   the ‘893 patent — not the ‘995 patent — for about three years and four months. Again, Warner-

   Lambert took the position that the ‘893 patent covered the isolated R-trans enantiomer, atorvastatin

   calcium.

             183.   Warner-Lambert informed the PTO that (i) the FDA had approved Lipitor, (ii) the

   active ingredient in Lipitor was atorvastatin calcium, and (iii) atorvastatin calcium is covered by the

   ‘893 patent. Warner-Lambert claimed that the ‘893 patent claimed atorvastatin calcium as a new

   chemical entity (Claims 1-4), as a pharmaceutical composition (Claim 8), and as a method to inhibit

   cholesterol biosynthesis (Claim 9).

             184.   Claim 1 requires ―a compound of structural formula I‖ or ―a hydroxyl acid or

   pharmaceutically acceptable salt thereof, corresponding to the opened lactone ring of the compounds

   of structural formula I above.‖ In the extension application, Warner-Lambert claimed that Lipitor is

   a pharmaceutically acceptable salt of structural formula I, and thus covered by Claim 1 of the ‘893

   patent:

                    Lipitor is a pharmaceutically acceptable salt (i.e., calcium salt) of the
                    hydroxy acid corresponding to the opened lactone ring of a compound
                    of structural formula I. Lipitor has the general structure:




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           185.     The PTO granted the patent term extension.

           186.     Ultimately, with both an extension for the time spent pursuing FDA approval of

   Lipitor under Section 156, and then for pediatric testing pursuant to the statutory provisions of the

   FDCA providing for additional marketing exclusivity, the ‘893 patent would expire on March 24,

   2010.

           187.     Warner-Lambert also sought and obtained a six-month extension for pediatric testing

   for the ‘995 patent pursuant to the FDCA. As a result, the expiration date of the ‘995 patent was

   June 28, 2011.

           188.     In effect, the ‘893 patent would provide more than thirteen years of patent exclusivity

   to market and sell branded Lipitor — from the 1997 launch until March of 2010. The ‘995 patent —



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   fraudulently procured by Warner-Lambert from the PTO — would tack on, if enforced by Warner-

   Lambert or its successors, another 15 months of protection from generic Lipitor competition.

          3.      In 1997, Warner-Lambert and Pfizer launch Lipitor.

          189.    Prior to commercialization, Warner-Lambert decided it wanted to employ a

   ―saturation‖ approach to selling Lipitor. The intent of the ―saturation‖ strategy was to have as many

   sales representatives as possible contacting physicians. As Anthony Wild, Warner-Lambert

   Pharmaceutical Sector President, explained, ―[t]he more soldiers you have out there, the more guns,

   the more likely you are to achieve your ends.‖ A 1995 sales force deployment study revealed that

   the Warner-Lambert‘s sales force was inadequate in size and focus to effectively launch Lipitor.

          190.    Warner-Lambert therefore chose Pfizer to assist in marketing Lipitor. Warner-

   Lambert and Pfizer outgunned the competition with the largest sales force ever. Between Warner-

   Lambert and Pfizer, more than 2,200 sales representatives were believed to be selling Lipitor during

   its launch in the U.S.

          191.    After launching in January 1997, Lipitor reached $1 billion in domestic sales within

   its first 12 months on the market. By the end of 1998, Lipitor was available for sale in 50 countries.

   In October 1997, 30% of all new statin prescriptions were written for Lipitor.

          4.      After launch, Warner-Lambert and Pfizer obtained and listed additional
                  patents.

          192.    Subsequent to the 1997 launch for the marketing of Lipitor, Warner-Lambert (and

   later Pfizer) procured additional patents covering particular (and narrow) processes or formulations

   ostensibly relating to versions of atorvastatin calcium.

          193.    First, in November of 1997, Warner-Lambert procured patent 5,686,104 (the ―‘104

   patent,‖ expiry January 19, 2013), and in October of 2000 procured patent 6,126,971 (the ―‘971

   patent,‖ expiry November 11, 2014). Both the ‘104 and ‘971 patents cover particular, and narrow,


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   ways of formulating atorvastatin calcium with various excipients to stabilize the finished

   pharmaceutical product. These two patents are referred to as the ―Unasserted Stabilization

   Formulation Patents;‖ ―unasserted‖ because despite later efforts by generic companies to enter the

   market, Pfizer did not assert these two patents against them; ―stabilization‖ because the composition

   mentioned in the patents contemplates a particular way of achieving stabilization in the final

   product, and ―formulation‖ because the two patents only cover two narrow formulations of

   atorvastatin calcium products.

          194.    Second, in October of 1999, Warner-Lambert procured patent 5,969,156 (the ―‘156

   patent,‖ expiry July 8, 2016). Generally speaking, the ‘156 patent is for the crystalline form of

   atorvastatin calcium. (To obtain this patent Warner-Lambert told the PTO that around the end of its

   safety and efficacy studies in 1995 it had reformulated its atorvastatin calcium from an amorphous to

   a crystalline form).

          195.    Third, in July 2000, Warner-Lambert procured patent 6,274,740 (the ―‘740 patent‖).

   In August of 2001, Warner-Lambert acquired patent 6,087,511 (the ―‘511 patent‖). Both the ‘740

   and ‘511 patents are process patents, i.e., they cover processes that ostensibly relate to a manner in

   which to make atorvastatin calcium. These two patents are called the ―Process Patents.‖

          196.    Pfizer listed the Unasserted Stabilization Formulation Patents and the ‘156 patent in

   the FDA Orange Book as covering Lipitor. As a practical matter, however, Pfizer knew that as

   narrow process or formulation patents, would-be generic makers could design-around these patents.

   The Process Patents were not listed in the Orange Book; as patents for a particular process to make a

   drug, they are ineligible to be listed in the book.




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   H.     2003: Pfizer files sham litigation against Ranbaxy based on the ’995 patent.

          197.    Ranbaxy was the first to file an ANDA for generic Lipitor. On August 19, 2002,

   Ranbaxy filed ANDA 76-477, seeking approval to sell a generic version of Lipitor in the 10 mg, 20

   mg, 40 mg, and 80 mg tablet strengths.

          198.    As the first to file a substantially complete ANDA for generic atorvastatin calcium,

   Ranbaxy was entitled to 180 days of marketing exclusivity under the then-effective provisions of the

   FDCA. No other ANDA applicant for generic Lipitor could receive FDA approval until the

   expiration of Ranbaxy‘s period of marketing exclusivity, which would not commence running until

   the earlier of either the inception of Ranbaxy‘s actual commercial marketing or the last court

   decision finding all patents listed for Lipitor in the Orange Book invalid or not infringed.

          199.    In or around February of 2003, Ranbaxy sent two Paragraph IV certifications to

   Pfizer with respect to all patents listed in the FDA Orange Book (i.e, the ‘893, ‘995, ‘156, ‘971 and

   ‘104 patents). In them, Ranbaxy asserted that no valid patent claims covering Lipitor would be

   infringed by the sale, marketing, or use of Ranbaxy‘s ANDA product.

          200.    In response, Pfizer, within the 45-day period provided by the Hatch-Waxman

   statutory scheme, filed an action in the United States District Court for the District of Delaware,

   alleging that Ranbaxy‘s ANDA product would infringe the ‘893 and ‘995 patents (the ―Ranbaxy

   litigation‖). Pfizer did not allege infringement of the Unasserted Stabilization Formulation Patents

   nor the ‘156 patent.

          201.    From 2003 to 2006, Pfizer‘s infringement litigation against Ranbaxy based upon the

   ‘893 and ‘995 patents progressed through discovery, a trial (in 2004), a district court decision (in

   2005), and an eventual appeal and decision by the United States Court of Appeals for the Federal

   Circuit (in 2006). Two features of the district court Ranbaxy proceedings are noted here.



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          202.    First, in pre-trial proceedings Pfizer attempted to amend its complaint to add new

   patent infringement claims based on the ‘511 and ‘470 Process Patents. However, process patents

   may not be listed in the FDA Orange Book and, therefore, could not serve as a basis for Pfizer‘s

   infringement action against Ranbaxy under the Hatch Waxman Amendments. Accordingly, the

   district court denied Pfizer‘s motion because claims under these two Process Patents would be

   ―premature.‖

          203.    Second, at the time the district court rendered its decision regarding the ‘995 patent in

   December of 2005, neither the district court nor Ranbaxy had the benefit of portions of critical

   evidence regarding Warner-Lambert‘s false statements to the PTO. During the Ranbaxy trial, Pfizer

   and Roth misrepresented several critical features of Warner-Lambert‘s biological testing of

   atorvastatin enantiomers and racemates.

          204.    First, because COR assays had shown only the expected two times relationship,

   Pfizer‘s evidence claimed that the COR assay was ―not a reliable assay,‖ ―certainly not to develop an

   assay or clearly not for a [structural] analysis,‖ that you could ―draw no conclusions from the COR

   screen with regard to structure or activity,‖ and that COR assays conducted as late as 1989 continue

   to suffer the same kinds of methodological problems as had existed back in 1982.

          205.    Second, because CSI tests showed wildly different results (as a result of

   methodological problems, thus dispelling the notion that a few selected CSI tests could show the

   purported ten times relationship), Pfizer‘s evidence claimed that Warner-Lambert chemistry

   personnel were completely ignorant of any methodological issues with respect to the preparation of

   CSI or COR assays from the biology department in Warner-Lambert, and that there were no

   methodological problems in the CSI assays which would have ever raised even a question regarding

   the ability to use CSI tests to make quantitative comparisons between compounds.



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           206.    Third, because AICS assays had shown only the expected two times relationship,

   Pfizer‘s evidence claimed that in vivo AICS tests were not a reliable measure of comparative

   activity, that Roth ―paid very little attention‖ to it, and that Roth would not use AICS data to make

   quantitative comparisons between the activities of compounds.

           207.    Finally, because Warner-Lambert‘s PTO submission had used only a few cherry-

   picked data points rather than informed, repeated studies prepared to show some semblance of

   honest scientific fact, Roth and Pfizer represented that quantitative structural activity research at

   Warner-Lambert in the late 1980s did not involve the repetition of assay testing nor the use of

   statistical analysis.

           208.    The district court relied on these representations in its ruling that found Roth‘s PTO

   submissions regarding the alleged ten-fold biologic power of the enantiomer over the racemate were

   not made with intent to deceive.

           209.    Each of these fundamental facts -- misrepresented by Pfizer during the Ranbaxy trial -

   - was untrue. Largely on the basis of evidence not introduced at the Ranbaxy trial and often acquired

   since the time of the Ranbaxy trial (through trial proceedings in other, foreign jurisdictions), the truth

   is the opposite.

           210.    In fact, Roth himself used COR assay data in making quantitative comparisons of the

   inherent biologic activity of compounds, and specifically used it to discern quantitative differences

   in compounds to develop the structure of atorvastatin.

           211.    In fact, methodological issues in conducting CSI tests that would lead to significant

   inter and intra-assay variability preventing quantitative comparisons of the enantiomer to its

   racemate were known and significant. The method used by biology to dissolve the atorvastatin-

   related compounds routinely encountered difficulties. The lactone ring was not consistently and



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   fully opened to enable consistent testing. As a result, the large quantitative disparate results shown

   between the racemate and the enantiomer simply displayed differences in how the cherry-picked

   data points resulted from different degrees of dissolution rather than inherent biologic activity.

   (Pfizer would eventually concede that the CSI tests ought not be used as a basis to justify the

   enantiomer patent).

           212.    In fact, AICS in vivo data was used in making quantitative comparisons of the

   inherent biologic activity of compounds, and specifically used to discern inherent quantitative

   differences in compounds to develop the structure of atorvastatin.

           213.    And, in fact, Warner-Lambert in the late 1980s used test conditions that required

   repeated testing at multiple doses, and the results of those tests were subjected to statistical analyses

   in order to justify the next steps in quantitative structural activity research.

           214.    Because the ‘995 patent was fraudulently procured by Pfizer, and because Pfizer

   withheld material facts from the district court, the Ranbaxy case as to the ‘995 patent was an

   objectively baseless sham, and was interposed merely to interfere with Ranbaxy‘s ability to market

   generic Lipitor in competition with Pfizer.

           215.    On November 2, 2006, the Federal Circuit reversed the district court‘s ruling which

   had upheld the validity of the ‘995 patent, determining that claim 6 – the sole claim that Pfizer

   claimed Ranbaxy‘s ANDA product infringed – was technically invalid (essentially for a scrivener‘s

   error). The Federal Circuit refused to address the district court‘s other determinations regarding the

   ‘995 patent. The Federal Circuit did affirm the ruling that he ‗893 patent was valid and would be

   infringed by Ranbaxy‘s product.

           216.    Based upon the Federal Circuit‘s mandate in late 2006, the district court amended its

   final judgment order to enjoin the effective date of any approval of Ranbaxy‘s ANDA for generic



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   Lipitor until March 24, 2010 (the expiry of the ‘893 patent) and to remove from its final judgment

   order any prohibition of effective FDA approval of Ranbaxy‘s ANDA based on the ‘995 patent.

   The district court‘s final judgment order, as amended, was sent to FDA.

   I.     2007-2009: Pfizer seeks reissuance of the fraudulently-procured ’995 patent.

          1.      The background of the ’995 re-issue efforts.

          217.    In the absence of Warner-Lambert‘s fraud on the PTO, the ‘995 ‗would never have

   issued. Without the ‘995 patent being issued in 1993, no reissue proceeding for a ‘995 patent in

   2007-2009 would have occurred. Without the reissue proceedings, the reissue patent that did emerge

   from that proceeding, reissue patent RE-40,667 (the ―‘667 patent‖), would not exist. As a result, the

   PTO‘s eventual decision on the reissue proceedings is irrelevant to this antitrust action.

          218.    The reissue proceedings do, however, confirm what Pfizer had long known: the

   biologic data submitted as part of the application for the ‘995 patent was false, inaccurate, incorrect,

   and riddled with errors. And by buying off Ranbaxy‘s opposition to the reissuance of ‘995 claims,

   along with a sleight-of-hand with respect in its submissions to the PTO, Pfizer got the PTO to finally

   allow, albeit incorrectly, several claims of the ‘995 patent as the ‘667 patent.

          219.    In August of 2006, the Federal Circuit ruled Claim 6 of the ‘995 patent invalid; as a

   dependent claim, Claim 6 ostensibly narrowed Claim 2 by claiming ―the hemi-calcium salt of the

   compound of Claim 2.‖ However, Claim 2 itself was a dependent claim limited only to atorvastatin

   acid and did not include salts. Thus, Claim 2 and Claim 6 dealt with ―non-overlapping subject

   matter,‖ and the claims had been improperly constructed. As a result, the 2006 Federal Circuit

   ruling held Claim 6 invalid, but the court declined to address any further issues regarding invalidity

   of the ‘995 patent that had been litigated before the district court in Ranbaxy.

          220.    In January 2007 and in the wake of the 2006 Federal Circuit ruling tossing the vital

   Claim 6 of the ‘995 patent on technical grounds, Pfizer sought reissuance of the ‘995 from the PTO

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   ―to correct a technical defect in some of the patent claims.‖ In doing so, Pfizer sought to limit the

   PTO‘s review to a determination whether the newly proposed re-wording of the claims (to correctly

   construct dependent or independent claims) would satisfy the construction rules of applicable patent

   laws.

           221.   While at the outset Pfizer sought only to correct a technical defect, it knew that huge

   problems lurked behind the scenes for the ‘995 patent, and that the PTO or others might raise the far

   more substantive problem that the ‘995 patent was simply an obvious extension of the original ‘893

   patent (and that the data to support a finding of surprising or unexpected activity of the enantiomer

   was false). By this time of early 2007, the ‘995 patent and its nearly identical foreign counterparts

   had been the subject of considerable litigation, not only in the federal district court Ranbaxy

   proceeding (with its limited in scope appellate review), but also in other countries throughout the

   world. Through these foreign proceedings, Pfizer learned it could no longer get away with publicly

   relying upon the falsified biological data to support a claim that the r-trans enantiomer of

   atorvastatin was ten times stronger than racemic atorvastatin (or indeed that it was anything other

   than the expected double strength). As a result, Pfizer expressly disavowed to the PTO the reliability

   of the 1989-1993 biological data as a basis to reissue any of the claims in the ‘995 patent.

           2.     The re-issuance proceeding show that the biologic data could not support a basis
                  to issue the ’995 patent.

           222.   On January 16, 2007, Roth and Pfizer submitted the Claim 6 ‘995 patent reissue

   application. The applicants did not amend or modify the ‘995 patent specification as part of the

   reissue proceedings. Roth‘s remarks include a list of the ―objective evidence‖ that ―completely

   refutes any suggestion of obviousness.‖ But now, the list does not include the purported surprising

   effectiveness of the R-trans enantiomer or a purported ten times greater activity of the R-trans

   enantiomer than the racemate.


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          223.    An Informational Disclosure Statement of the same date states:

                  Subsequent to the Federal Circuit‘s decision, while preparing for trial
                  in Australia on a ‘995 counterpart, Pfizer first learned of significant
                  errors in the COR results which neither Pfizer nor the parties adverse
                  to it had discovered before. This discovery led Pfizer to advise the
                  Federal Circuit that COR data could not be relied on to compare the
                  relative activity of compounds — see Exhibit 9, page 10, fn 2. Thus
                  any earlier reference in Pfizer’s findings, conclusions and brief to
                  relative activity among compounds based on the COR test is
                  withdrawn and is not relied on in these reissue proceedings. Pfizer
                  does not at this point in the reissue rely for patentability on any
                  comparisons based on CSI. Neither CSI nor COR data were relied on
                  by either U.S. court in reaching their decisions regarding the validity
                  of ‘995 claim 6.
   Elsewhere Pfizer states ―Pfizer does not now rely on any …data [comparing between and among

   calcium salts and other salts of atorvastatin and its racemates] in support of patentability.‖

          224.    In May 2007, Ranbaxy filed a protest with the PTO against Pfizer‘s reissue

   application. Ranbaxy would continue protesting for about another year until, pursuant to a

   comprehensive agreement to be discussed later, Ranbaxy discontinued doing so.

          225.    On June 7, 2007, as part of reissue proceedings on the ‘995 patent, Pfizer submitted a

   Second Informational Disclosure Statement that discusses ―Foreign Proceedings on ‘995

   Counterparts‖ and attached additional materials produced as part of certain non-U.S. proceedings.

   Pfizer acknowledged that the biological data submitted in support of their patent applications — in

   the CSI Table, the Roth Declaration, and the foreign ― ‘995 counterparts‖ — is inaccurate:

                  [A]pplicant is submitting these documents to permit the Examiner to
                  consider their potential materiality. Further, many of these documents
                  … contain biological data or summaries of biological data, and some
                  of that biological data is now understood to be inaccurate (due to
                  transcription errors, calculation errors, experimental errors, etc.).

          226.    Elsewhere in the reissue proceedings, Pfizer referred to the biological data at issue in

   the Australian and Canadian patent litigation as ―biologic data that Pfizer then argued showed that

   the atorvastatin enantiomer had unexpected and surprising inhibition of cholesterol biosynthesis in-

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   vitro in comparison to the racemic form of atorvastatin,‖ while reiterating that they “are not relying

   on any of the biological data as a basis for the patentability of the pending claims at the present

   time.” Similarly, Roth and Pfizer stated, ―[a]pplicant is not submitting corrected biological data at

   the present time because, as applicant has emphasized repeatedly in these reissue proceedings,

   applicant is not currently relying on the biological data for patentability.‖

          227.    At one point in the reissue proceedings, the examiner, seeing Roth‘s late 1980s

   representations in the PTO record, relied on the biological data to overcome an obviousness

   rejection:

                  Claims 6, 13 and 14 have not been rejected as being obvious as the
                  declaration of Bruce D. Roth filed February 25, 1991 discloses
                  unexpected properties which would overcome any 35 USC 103(a)
                  rejection of claims 6, 13 and 14 as atorvastatin calcium was shown to
                  have activity greater than fifty-fold more than that of the S-trans and at
                  least ten-fold more than that of the racemate.
          228.    Pfizer knew it could no longer allow the PTO to use its falsified biological data. As a

   result, it ―reiterated [to the PTO] that they are not presently relying on any of the biological data

   (including the data contained in the Roth declaration) as support for the patentability of claims 6, 13

   and 14.‖ It stated:

                  Although applicant believes that the evidence provided in the Roth
                  Declaration is sound, and is in no way disclaiming this data, it does not
                  believe that it is necessary to consider such evidence in view of the
                  present record … applicant respectfully requests that the Examiner
                  withdraw her reliance on the data in the Roth Declaration and focus
                  instead on the overwhelming evidence of secondary considerations
                  that are discussed above….
   The referenced secondary considerations include the argument based on Lipitor‘s commercial

   success.

          229.    In August 2007, the PTO issued a First Office Action rejecting Pfizer‘s reissue

   application on grounds set forth in Ranbaxy‘s May 2007 protest — that certain claims in the ‘995

   patent were anticipated, obvious, or constituted double-patenting.
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          230.    On April 24, 2008, the PTO issued a non-final rejection of claims 6, 13, and 14. In so

   doing, the examiner stated, ―[a]s the data contained in the Roth declaration has not been relied on by

   Applicant in the instant reissue and is not a comparison of the claimed subject matter (atorvastatin

   calcium) to the closest prior art, the examiner withdraws the reliance on the data in the Roth

   Declaration to overcome an obviousness rejection of reissue claims 6, 13 and 14.‖

          3.      No legitimate basis existed to reissue the claims in the ’995 patent.

          231.    Recognizing that the original basis for issuing the ‘995 patent was false and

   fraudulent, Pfizer manufactured new reasons why, on the basis of information available 15 years

   after the ‘995 patent was issued, the ‘995 should still re-issue despite its obviousness over the

   original ‘893 Lipitor compound patent.

          232.    Pfizer should have addressed the pertinent question: whether the ‘995 R-trans

   enantiomer patent was obvious given the coverage for atorvastatin already in the original ‘893

   compound patent. For an enantiomer patent to overcome an objection of obviousness in light of its

   parent compound patent, the enantiomer must have some surprising and unexpected attributes

   beyond those of the compound.

          233.    Instead of focusing on the pertinent question, Pfizer‘s reissue application repeatedly

   characterized the question before the PTO as whether ―Lipitor‖ had experienced commercial success

   warranting, as a secondary consideration, a conclusion that it was non-obvious. Pfizer‘s 2007

   reissue application and its later support read more like promotional pieces for Lipitor to sell the PTO

   on Lipitor‘s marketing success, rather than have the PTO focus on the actual issues to be decided by

   the PTO.

          234.     But Pfizer knew that this argument of generally looking at ―Lipitor‖ (rather than

   distinguishing attributes of the enantiomer that were surprising and unexpected) was a deception.

   Pfizer knew that Lipitor was protected by the ‘893 patent from the initial launch of Lipitor through
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   all of the re-issue proceedings. Thus, any showing of success of Lipitor generally would not in any

   way elucidate why the ‘995 patent (which also covered Lipitor) was not obvious over the original

   ‘893 compound patent. Indeed, Warner-Lambert, and later Pfizer, repeatedly identified the ‘893

   patent as the patent which would provide protection for Lipitor. Warner-Lambert listed the ‘893

   patent in the Orange Book, thus protecting Lipitor from generic competition.15 Shortly after Lipitor

   was approved by the FDA in late 1996, Warner-Lambert sought, and obtained, a patent extension on

   the ‘893 patent (not the ‘995 patent) to make up for many years that it took to study Lipitor. And

   Pfizer later brought infringement cases against generic companies arguing that their proposed Lipitor

   products would infringe the ‘893 patent.

            235.     Put simply, from late 1996 to 2009, Pfizer‘s commercialization of Lipitor was

   actively protected by both the original ‘893 Lipitor compound patent and the ‘995 patent, i.e., both

   patents covered the commercialized R-trans enantiomer calcium salt formulation. Thus, any

   arguments raised with the PTO at any time regarding the commercial success of ―Lipitor‖ could not,

   as a matter of fact or law, elucidate in any way whatsoever whether or not the ‘995 patent was non-

   obvious over the ‘893 patent.16

            236.     Outside of the ‘995 proceedings, Pfizer has admitted that commercial success of

   Lipitor cannot be used as a basis to distinguish between the ‘893 and ‘995 patents. According to


   15
      The use code used for the ‘893 patent to cover Lipitor was a ―method of inhibiting cholesterol biosynthesis in a
   patient.‖ Similarly, the use code used for the ‘995 patent was defined as a ―method of use to inhibit cholesterol synthesis
   in a human suffering from hypercholesterolemia.‖
   16
     Notably, Pfizer‘s re-issue application stated that the re-wording of the ‘995 patent should be allowed so that the ―active
   ingredient responsible for Lipitor‘s success [could] be restored and the active ingredient that makes Lipitor work will
   again be protected by species claims,‖ falsely suggested that without the allowance Lipitor would be without patent
   protection. This was a false suggestion because Lipitor's active ingredient was also covered by the original ‘893 patent as
   well. Similarly, Pfizer‘s reissue application misleadingly referred only to the portion of the 1993 ruling of the board of
   appeals decision which held the ‘995 patent not anticipated by the ‘893 patent; Pfizer completely ignored the portion of
   that same ruling which determined that an enantiomer patent under circumstances such as this case would be obvious
   over an original compound patent. Elsewhere, Pfizer stated that ―one molecule - the molecule specifically claimed in
   Claim 6 of this re-issue application is responsible for the success.‖



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   Pfizer it would not be appropriate ―to infer the non-obviousness of two unrelated patents based on

   the success of a single commercial product.‖ (Emphasis in original.)

            237.   By April of 2008, the PTO, with Ranbaxy as an objector, had repeatedly rejected

   Pfizer‘s reissuance efforts.

            238.   In June of 2008, however, Pfizer and Ranbaxy entered into an agreement (later

   described in this complaint as the Delay Agreement). Under that agreement, Ranbaxy either

   expressly or impliedly agreed to discontinue it protests to the pending reissuance proceedings.

            239.   With Ranbaxy out of its way, Pfizer continued to barrage the PTO with information

   about the commercial success of ―Lipitor,‖ treating it as if that were the correct and only relevant

   issue.

            240.   Eventually, the PTO relented to Pfizer‘s barrage of Lipitor materials regarding

   commercial success.

            241.   On April 6, 2009, the PTO reissued claims 6, 13, and 14 of the ‘995 patent as the ‘667

   patent. The PTO based its ruling to grant the re-issuance of the ‘995 patent not on the basis of the

   biological studies and representations made by Warner-Lambert (even though a version of the CSI

   assay data remains in the specification for the patent), but instead on the basis of Pfizer‘s arguments

   that the commercial success of Lipitor shows that the ‘995 patent could not have been obvious.

            242.   Were it not for Pfizer‘s fraud on the PTO in the context of procuring the ‘995 patent,

   there would never have been a ‘995 patent in the first place, nor any commercial success attributable

   to the ‘995 patent for the patent examiner to rely upon to reissue the ‘995 patent.

            243.   Moreover, as Pfizer knew, whatever commercial success Lipitor enjoyed was the

   result of coverage under both the ‘893 patent and ‘995 patent. The invention disclosed in the ‘995




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   patent afforded Lipitor no additional commercial success over that afforded by the invention

   disclosed in the ‘893 patent and it was fraudulent for Pfizer to contend otherwise.

   J.     2005: Pfizer Files a Sham “Citizen Petition” With FDA

          244.    During the 30 month period from early 2003 until about August of 2005, the Ranbaxy

   case had stayed final FDA approval of Ranbaxy‘s generic Lipitor ANDA.

          245.    As August of 2005 approached, Ranbaxy‘s ANDA was the only pending ANDA on

   file for generic Lipitor. Pfizer knew that after the end of the 30-month stay FDA could issue final

   approval for Ranbaxy‘s generic Lipitor ANDA (pending since August 2002), which in turn would

   permit generic Lipitor competition to begin. Pfizer also knew that as a matter of procedure and

   practice, FDA did not issue tentative approvals to ANDA filers as to whom applicable 30-month

   stays had expired; it issued final approvals only. So Pfizer would have no warning of when the

   ANDA approval might occur.

          246.    Pfizer wanted to delay such final approval for as long as it could.

          247.    As a result, beginning in July of 2005, Pfizer sent a series of communications,

   including a ―citizen petition,‖ to FDA. Both the timing and content of these submissions were a

   sham, sent not for a proper purpose but as an attempt to slow down the FDA approval process for

   Ranbaxy‘s ANDA.

          248.    To demonstrate how the content and timing of Pfizer‘s letter and petition were a

   sham, some background is required.

          1.      The FDA had a long-standing policy that drug substances having differences in
                  polymorphic forms were not considered different active ingredients for ANDA
                  purposes.

          249.    Salts of atorvastatin are polymorphic. The polymorphs can be either crystalline or

   amorphous. Crystalline forms have different arrangements and/or conformations of the molecules in

   the crystal lattice. Amorphous forms consist of disordered arrangements of molecules that do not

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   possess a distinguishable crystal lattice. FDA has a long history of established policies as to how to

   address polymorphs in the ANDA review and bioequivalence context.

          250.    In 1992 (15 years before Pfizer made its submissions to FDA), FDA specifically

   rejected a regulatory proposal that would have required an ANDA applicant to show that the active

   ingredient (i.e., the drug substance) in its generic drug product and the active ingredient (i.e., the

   drug substance) in the corresponding brand drug ―exhibit the same physical and chemical

   characteristics, that no additional residues or impurities can result from the different manufacture or

   synthesis process, and that the stereochemistry characteristics and solid state forms of the drug have

   not been altered‖ (the ―1992 regulatory rejection‖). By 1992, FDA had already determined that

   differences in drug substance polymorphic forms, including differences in residues and impurities,

   do not cause drug substances to be considered different active ingredients for the purposes of ANDA

   approvals within the meaning of the FDCA and FDA regulations.

          251.    This position was reaffirmed ten years later in 2002 when FDA declined to utilize

   special or additional scrutiny or specifications when reviewing ANDAs for drug products that

   utilized different polymorphic forms of the active pharmaceutical ingredient. On February 15, 2002,

   in a publicly-available denial of another company‘s citizen petition of which Pfizer had actual and/or

   constructive knowledge (the ―Ceftin decision‖), FDA stated that ―FDA‘s view is that the [FDCA],

   existing regulations, preamble statements, and the FDA publication Approved Drug Products With

   Therapeutic Equivalence Evaluations (Orange Book) [already] provide an adequate basis to guide

   the Agency‘s decision making on ANDAs seeking approval of a generic drug product whose active

   ingredient has a different physical form than the active ingredient in the reference listed drug.‖

   (Italics in original.) The generic ANDA filer in the Ceftin decision was, as here, Ranbaxy.




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          252.     In its rejection of the Ceftin petition, FDA reiterated that ―FDA‘s review of any

   ANDA [already] includes ensuring that the ANDA applicant has the appropriate controls in place

   with respect to the drug substance and drug product. In FDA‘s view, Ranbaxy has appropriate

   controls with respect to the drug substance and the drug product.‖ Thus, FDA expressly declined to

   apply special or additional scrutiny or specifications to the review of an ANDA when a different

   polymorphic form of the active pharmaceutical ingredient was used by the proposed ANDA product.

          253.     FDA explained that under existing FDA standards what mattered in connection with

   ANDA approval was the performance of the drug product, not the active ingredient (i.e., the drug

   substance in isolation):

                   If a polymorph displays different properties such as melting point,
                   solubility, and stability, these characteristics could ultimately have an
                   impact on the approval of an ANDA for a proposed generic drug
                   product. These characteristics could ultimately affect the approval
                   because the approval is based not only on whether the active
                   ingredient in the proposed generic drug product is the ―same‖ as the
                   active ingredient in the reference listed drug, but also on whether the
                   proposed generic drug product is the same as the reference listed drug.
                   FDA will approve a generic drug product if the ANDA applicant
                   provides, among other things, sufficient information to show that the
                   generic drug product is the ―same‖ as the reference listed drug.
                   However, if the active ingredient of a proposed generic drug product
                   were to have a different polymorphic form than the active ingredient in
                   the reference listed drug, and this difference affected the behavior or
                   certain characteristics of the drug product, then FDA might not
                   approve the generic drug product, despite the fact that the proposed
                   generic drug product contained the same active ingredient as the
                   reference listed drug.

          254.     FDA also announced in the Ceftin decision that:

              a. ―[a] difference in the physical form of an active ingredient in a generic drug product
                 from the physical form of the active ingredient in the reference listed drug, including
                 a difference in the crystalline structure of the active ingredient, does not bar the
                 approval of a proposed generic drug product;

              b.    [f]or a generic drug product to be regarded as having the same active ingredient
                   under [21 C.F.R] § 314.92(a)(1), the drug substance in a proposed generic drug

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                  product need not have the same physical form as the drug substance in the reference
                  listed drug; and

              c. FDA‘s scientific expertise and experience have shown that a difference in the
                 physical form of the active ingredient in a generic drug product from the physical
                 form of the active ingredient in the reference listed drug, including a difference in the
                 crystalline structure of the active ingredient, does not prevent a finding of therapeutic
                 equivalence.‖

          255.    In 2003, prominent scientists within FDA‘s Center for Drug Evaluation and Research

   publicly stated that there was ―no scientific basis‖ upon which to conclude that an ANDA

   applicant‘s using a different drug substance polymorph, compared with the corresponding brand

   drug, would preclude the ANDA applicant from demonstrating drug product manufacturability,

   bioequivalence, and stability. Those same FDA scientists also stated, at or around the same time,

   that there was ―no scientific or regulatory basis‖ for requiring a generic drug product to use the same

   polymorphic form as the innovator.

          256.    Those same FDA scientists also stated, at or around that same time, that despite the

   potential effect that polymorphism may have on drug stability, “because drug product stability is

   affected by a multitude of other factors, including formulation, manufacturing process, and

   packaging, it is the stability of the drug product, not the drug substance, that is the most relevant

   measure of drug quality.‖ Thus, existing FDA scrutiny of ANDAs was sufficient when polymorphic

   forms of drug substances were involved, according to FDA. ―[U]nder cGMPs, the sponsor of the

   ANDA must still provide evidence of manufacturing process validation and demonstrate that the

   drug product can be manufactured reproducibly, while meeting all the required in-process, release,

   and stability specifications,‖ the FDA scientists said.

          257.    Moreover, in a December 2004 draft guidance (the ―2004 Polymorph Draft

   Guidance‖), FDA explained that polymorphism was already accounted for by existing FDA

   regulations and ANDA review procedures:

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                     In addition to meeting the standards for identity, each ANDA applicant
                     is required to demonstrate that, among other things, the drug product
                     exhibits sufficient stability and is bioequivalent to the [corresponding
                     brand drug]. While the polymorphic form can affect drug product
                     stability and bioequivalence, these performance characteristics are also
                     dependent on the formulation, the manufacturing process, and other
                     physicochemical properties (e.g., particle size, moisture) of both the
                     drug substance and formulation excipients. Using a drug substance
                     polymorphic form that is different from that of the [corresponding
                     brand drug] may not preclude an ANDA applicant from formulating a
                     generic drug product that exhibits bioequivalence and stability, and the
                     drug substance in the generic drug product need not have the same
                     polymorphic form as the drug substance in the [corresponding brand
                     drug].

          258.       FDA reiterated in the 2004 Polymorph Draft Guidance what the FDA scientists had

   said in 2003: ―because drug product stability is affected by a multitude of other factors, including

   formulation, manufacturing process, and packaging, it is the stability of the drug product, and not

   stability of the drug substance polymorphic form that should be the most relevant measure of drug

   quality.‖

          259.       Although given the opportunity to comment upon the 2004 Polymorph Draft

   Guidance, Pfizer did not do so.

          260.       At all relevant times, the preface to the FDA ―Orange Book‖ provided that

   ―[a]nhydrous and hydrated entities, as well as different polymorphs, are considered pharmaceutical

   equivalents[.]‖

          261.       Any reasonable drug company, and certainly Pfizer as the largest drug company of

   all, would know FDA‘s established policy and practices regarding polymorphic forms of active

   pharmaceutical ingredients prior to sending their letter and petition to the FDA.

          2.         Pfizer’s own amorphous form of atorvastatin was known to present fewer safety
                     risks than the crystalline form

          262.       Pfizer also knew, from its own work with atorvastatin, that the amorphous form of

   atorvastatin actually presented fewer concerns for the safety of patients than the crystalline form.
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          263.    According to Pfizer‘s statements to FDA, virtually all of the clinical studies

   conducted in the early 1990s to support the safety and efficacy of atorvastatin in humans had used

   batches of the amorphous formulation of atorvastatin. However, around 1995 – late in the clinical

   development and FDA approval processes – Pfizer decided (of its own accord, and not due to any

   FDA concerns) to switch to the crystalline form of atorvastatin for the product it would ultimately

   market.

          264.    With one exception, all of Pfizer‘s preclinical studies were done using the amorphous

   form of atorvastatin. But one 13-week comparative studies in rats, mice, and dogs done in July 1995

   used the crystalline form and provided Pfizer with cause for concern – there was mortality among

   dogs receiving the crystalline form after only 3 months of treatment, while no mortality among dogs

   given the amorphous form. Moreover, the locations and numerous sites of impact from the

   crystalline form were troublesome.

          265.    Pfizer‘s late shift from an amorphous to a crystalline form of atorvastatin was a major

   concern to FDA reviewers overseeing the Lipitor NDA – not because the amorphous formulation

   posed safety concerns, but because the change to the crystalline version did. Pharmacokinetic

   studies showed that the crystalline version had an early, and high, spike in its dissolution profile,

   meaning that a greater amount of atorvastatin was present in the blood much faster than with the

   amorphous form; this spiking, it was surmised, might lead to some of the higher safety risks for the

   higher doses seen in clinical studies for the crystalline formulation.

          266.    Eventually during the NDA process, Pfizer persuaded FDA to approve all but the

   highest dose (80 mg) of the crystalline form of atorvastatin (the 80 mg was taken off the table at the

   time due to crystalline concerns). But the process made clear that in comparisons between




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   amorphous versus crystalline atorvastatin, the amorphous form presented fewer concerns for patient

   safety than that of the crystalline form.

          3.      Pfizer knew that Ranbaxy’s proposed ANDA product used the amorphous form
                  of atorvastatin, not the crystalline form used in Lipitor

          267.    Finally, Pfizer knew from the Ranbaxy litigation that Ranbaxy‘s ANDA proposed that

   its generic Lipitor use amorphous atorvastatin calcium as its active pharmaceutical ingredient.

          4.      Pfizer seeks sham relief and files a sham citizen petition with FDA

          268.    In July of 2005, Pfizer sent a letter entitled ―Generic Versions of Atorvastatin‖ to the

   FDA. In it, Pfizer said it was ―concerned‖ that ANDA applicants for generic Lipitor were using

   amorphous atorvastatin calcium, which, Pfizer claimed, ―may be susceptible to higher levels of

   impurities than are found in Lipitor and that may degrade more quickly and thus have inferior

   stability compared to Lipitor.‖ Pfizer said that this ―may raise questions about the approval of‖

   ANDAs for generic Lipitor. Pfizer asked FDA to ―carefully scrutinize‖ such ―potential differences

   in quality . . . before the atorvastatin variants are approved under ANDAs.‖ Pfizer said that ―the risk

   of reduced quality in the generic product,‖ due to the use of amorphous atorvastatin, was ―clear,‖

   and that Ranbaxy‘s ANDA should be ―reviewed with considerable skepticism.‖

          269.    The letter to FDA was signed by a Pfizer scientist, a vendor Pfizer used that ―provides

   analytical services to the pharmaceutical industry,‖ and was copied to Jeffrey B. Chasnow, a lawyer

   in Pfizer‘s legal department.

          270.    Pfizer‘s true purpose for sending the letter to FDA was to cause FDA to take a longer

   time in reviewing Ranbaxy‘s ANDA for generic Lipitor and thereby delay final approval once the

   30-month stay had ended.

          271.    On August 30, 2005, FDA informed Pfizer that the procedure for communicating

   with FDA on such issues was to file them as a so-called ―citizen petition.‖


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          272.     On November 7, 2005, Pfizer re-filed the July 28 letter as a citizen petition. Pfizer

   restated its request: ―Pfizer asks that FDA consider the information provided in the July 28 letter,

   together with any additional information that may be submitted to the petition file by Pfizer or

   others, in FDA‘s decisions concerning approvals of generic versions of atorvastatin.‖

          273.    Having studied the amorphous form thoroughly, Pfizer knew, and told FDA in or

   around June of 1995, that there were no clinical safety or efficacy implications related to using the

   amorphous, as compared with the crystalline, form. As it turned out, toxicity was a concern for the

   crystalline form of atorvastatin calcium that Pfizer ultimately used, not the amorphous form that

   Pfizer abandoned (and Ranbaxy proposed to use).

          274.    Pfizer submitted no evidence to FDA that showed or even suggested that Ranbaxy‘s

   ANDA product, because it used amorphous atorvastatin calcium as the drug substance (i) would not

   be pharmaceutically equivalent or bioequivalent to branded Lipitor, (ii) would not demonstrate

   satisfaction of the conditions for approval under the FDCA, or (iii) would not be capable of being

   processed or manufactured under current good manufacturing practices (―cGMP‖). Instead, Pfizer

   simply ignored FDA‘s prior stated positions concerning polymorphism, and submitted its petition in

   contradiction to these principles.

          275.    Pfizer‘s letter and petition were objectively baseless and interposed solely to create an

   obstacle to the final FDA approval of Ranbaxy‘s generic Lipitor ANDA. No objectively reasonable

   petitioner would have expected success on the merits of Pfizer‘s letter or petition. Both lacked any

   reasonable regulatory, scientific, medical, or other reasonable basis. Pfizer‘s letter and petition

   lacked any evidence that lent support to their assertions or that bore on the approvability of

   Ranbaxy‘s ANDA product. Neither stood any chance of affecting FDA policy or procedure. Both

   were flatly contrary to FDA‘s expressed views regarding drug substance polymorphic forms, and did



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   not reasonably argue (or argue at all) for a change in those expressed views. In short, Pfizer‘s letter

   and petition were nothing more than a thinly-veiled effort to impose delay and meaningless

   regulatory effort upon FDA to document the existence and application of accepted regulatory

   processes on FDA‘s review and approval of Ranbaxy‘s final ANDA approval.

           276.   Of course, Pfizer‘s timing in making these submissions to FDA was also a sham. In

   July of 2005, Pfizer had no more information on than it had had for many months, if not years,

   earlier about Ranbaxy‘s ANDA; it purposely submitted the letter to FDA shortly before the 30-

   month stay was to expire, in an attempt to obtain additional delay as a result of the submission of

   that letter — delay which, Pfizer hoped, would continue after the 30 month stay expired.

           5.     The FDA denies Pfizer’s sham petition

           277.   On November 30, 2011 -- the same date that under an agreement (to be discussed

   later) between Pfizer and Ranbaxy, Ranbaxy could first enter the market with generic Lipitor -- FDA

   issued its formal written denial of the Pfizer‘s petition.

           278.   FDA denied Pfizer‘s petition because, just as it had already said in the 1992

   regulatory rejection, the 2002 petition response, the 2004 Polymorph Draft Guidance, and repeatedly

   thereafter, that ANDA applicants need not show that their active ingredients have no additional

   residues, impurities, or solid state forms relative to the active ingredient in the corresponding brand

   drug.

           279.   Likewise, as FDA had repeatedly said before, FDA‘s existing policies and procedures

   were adequate to identify any ANDA product which used different polymorphs than the

   corresponding brand product, determine whether that difference resulted in any differences in

   measures such as purity or stability, and if such differences existed, whether the purity and stability

   data for the ANDA product satisfied FDA‘s longstanding standards for such measures. There was

   nothing about this process that required any additional skepticism or special consideration by FDA.
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   Thus, FDA again expressly declined to apply special or additional scrutiny or specifications to the

   review of such ANDAs:

                  We believe that the Agency’s existing recommendations to industry on
                  assessing active ingredient sameness and stability of polymorphic
                  forms of drug substances, as well as those on comprehensive
                  chemistry, manufacturing, and controls (CMC) and impurities, are
                  adequate to enable an ANDA applicant to address any potential drug
                  product stability, degradation, and impurity issues associated with the
                  amorphous form of atorvastatin. We also believe that the Agency’s
                  existing policies and review practices are sufficient for a critical
                  evaluation of the variables that have the potential to affect drug
                  product quality of drug products containing amorphous atorvastatin.

                                                  ***
                  In the preamble to the final rule implementing the generic drug
                  approval provisions of the Hatch Waxman Amendments, FDA
                  specifically rejected the suggestion that the Agency adopt a
                  requirement that active ingredients ―exhibit the same physical and
                  chemical characteristics, that no additional residues or impurities can
                  result from the different manufacture or synthesis process; and that the
                  stereochemistry characteristics and solid state forms of the drug have
                  not been altered.‖

          280.    Moreover, in denying Pfizer‘s petition, FDA again stated (as it had in the 2004 Draft

   Polymorph Guidance) that ―the inherent stability of the drug substance polymorphic form should not

   be the primary consideration in making a determination of product stability. Rather, the stability of

   the generic atorvastatin drug product is the most relevant measure of drug product quality.‖

   (Emphasis in original.)

          281.    Again, these were not new positions on the part of FDA. Instead, Pfizer‘s petition

   was flatly contrary to, and willfully ignored, FDA‘s previous decisions and previously-expressed

   views in the 1992 Regulatory Rejection, the 2002 Decision, the 2004 Polymorph Draft Guidance,

   and repeatedly thereafter. Pfizer had no objectively reasonable basis to file the letter or petition.




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   K.     In 2008, Pfizer shifted from unilateral, to conspiratorial, unlawful conduct to preclude
          generic entry.

          282.    By 2008, a markedly changed landscape afforded Pfizer no practicable opportunities

   to unilaterally extend its marketing exclusivity for Lipitor beyond March of 2010. After all, (i) the

   ‘995 patent would expire in March of 2010, (ii) Claim 6 of the ‘995 patent (the only asserted claim

   against Ranbaxy) was adjudicated invalid, (iii) its effort to gain re-issuance of the ‘995 had been met

   with protests by Ranbaxy and rejections by the PTO, (iv) its two process patents could not apply to

   Ranbaxy‘s product (and would likely not apply to other generic efforts), (v) its two stabilization

   formulation patents had never been, and could never be, asserted against Ranbaxy (and likely any

   other generic company), and (vi) the petition it had filed with FDA lacked all merit and would, in

   time, be rejected.

          283.    To set the stage for the allegations of Pfizer‘s conspiratorial unlawful activities in the

   face of this dilemma, the complaint first sets out in more detail these circumstances.

          1.      The ’893 and ’995 patents could only bar generic entry until March of 2010.

          284.    As to the ‘893 patent, the Ranbaxy district court‘s entry of final judgment in the end

   of 2006 barred generic entry by Ranbaxy until March of 2010. As to the ‘995 patent, however, the

   final order adjudged claim 6 (the only ‘995 claim asserted against Ranbaxy) invalid (in accordance

   with the Federal Circuit‘s ruling regarding the scrivener‘s error); as a result, claim 6 of the ‘995

   patent could not, as a matter of law, be enforced against Ranbaxy. As a result, when in early 2008

   Pfizer looked at its strategic options, it could only expect the ‘893 and‘995 patents to bar generic

   entry by Ranbaxy until March of 2010.

          2.      There was no valid basis for re-issuance of the ’995 patent.

          285.    In early 2008 things looked bleak, as they should have, for the ‗995 reissuance. In

   April of 2008 the PTO had rejected the application; since Pfizer was no longer relying upon the


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   biological data, there was no basis to conclude the claims in the ‗995 were anything other than

   obvious over the ‘893 patent. Ranbaxy‘s protests were being heard by the PTO. And no logical

   basis existed to otherwise grant the reissuance request.

            3.     The two Unasserted Stabilization Formulation Patents and the ’156 patent had
                   never been, and could never be, validly asserted against Ranbaxy

            286.   In 2008 and when assessing strategic options, Pfizer could gain no solace from its two

   Unasserted Stabilization Formulation patents, nor the ‘156 patent, as methods to preclude Ranbaxy

   entry.

            287.   As to the two Formulation Patents (i.e., the ‘971 and ‘104 patents), neither patent had

   yet been used as the basis for an infringement action against Ranbaxy, nor could they. Both patents

   were for narrow formulations to achieve stabilization for particular atorvastatin drug products, and

   thus did not apply to Ranbaxy‘s proposed product under its ANDA.

            288.   As to the ‘156 patent, it covered crystalline forms of atorvastatin, not amorphous

   ones. But Ranbaxy‘s product was the latter. Pfizer did not and could not show that Ranbaxy‘s

   product would infringe the Formulation Patents or the ‘156 patent, and as of today, Ranbaxy‘s

   product is presumed not to infringe these patents.

            4.     The two Process Patents would not apply to Ranbaxy’s (nor likely other generic)
                   products

            289.   The two Process Patents also did not provide a vehicle to delay generic entry of

   Ranbaxy‘s (or indeed most if not all other) would-be generic makers.

            290.   The ‘511 and ‘740 patents have applications that trace back to a common application

   and therefore the specifications for both are virtually identical. The Summary of the Invention

   sections of these two patents are identical and, states:

                   [T]he present invention is a novel process for the preparation of
                   amorphous atorvastatin and hydrates thereof which comprises . . . (a)


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                  dissolving crystalline Form I atorvastatin in a non-hydroxylic solvent;
                  and (b) removing the solvent to afford amorphous atorvastatin‖

   (emphasis added).

          291.    The Process Patents are narrow in scope. For a generic manufacturer‘s process to

   infringe either of these patents, the generic manufacturer must, inter alia, start by dissolving

   crystalline Form I atorvastatin in the specified solvent. If the manufacturing process dissolves any

   crystalline structure other than Form I in the specified solvent, or dissolves amorphous atorvastatin,

   the process does not and cannot infringe either of the Process Patents. The process must also meet

   each of the other claims of the Process Patents, as well.

          292.    Because of the narrow scope of the Process Patents, and the ample number of both

   amorphous and crystalline forms of atorvastatin that were available, a very large number of non-

   infringing alternatives existed to the technology claimed in the Process Patents. Indeed, the prior art,

   including the ‘893 patent (covering the active ingredient of Lipitor, atorvastatin calcium), describes

   numerous processes for making atorvastatin calcium that are prior art to the Process Patents and

   would invalidate the claims of the Process Patents if those claims read on the processes described in

   the ‘893 Patent.

          293.    During Pfizer‘s own development of Lipitor, Pfizer first produced (for years)

   amorphous atorvastatin in their manufacturing processes before developing (much later) crystalline

   formulations such as Form I. There is no need for someone seeking to produce amorphous

   atorvastatin calcium to first produce Form I crystalline atorvastatin calcium.

          294.    Pfizer knew that generic companies would design around process or formulation

   patents such as these. It is common practice for experienced generic companies such as Ranbaxy to

   conduct patent searches during the drug development process, and to select drugs and approaches to




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   formulating products that are allegedly covered by patents which the generic companies can readily

   design around.

          295.      Process patents cannot be listed in the FDA‘s Orange Book because they are not

   patents claiming an approved drug or an approved use of a drug. The existence of the Process

   Patents did not, therefore, provide a vehicle for immediate patent litigation nor did it create a

   regulatory impediment to generic entry. (ANDA filers are not required to file Paragraph IV

   certifications with respect to non-listed patents; as a result Pfizer could not obtain an automatic 30-

   month stay of FDA approval of an ANDA by bringing a suit for infringement of the Process

   Patents).

          296.      Nor did the existence of the Process Patents create any significant design or legal

   impediment to generic entry even when litigation might be ripe. Numerous non-infringing

   alternatives to the processes claimed in the Process Patents existed such that there was no reasonable

   likelihood that Pfizer would be able to use the Process Patents to obtain a court order enjoining

   ANDA filers, including Ranbaxy, from selling generic versions of Lipitor on the ground that they

   infringed the Process Patents.

          5.        Pfizer created the illusion of litigation to create the appearance of patent life
                    beyond March of 2010.

          297.      Agreements between branded and generic companies can often create a vehicle to

   extend unlawfully branded market exclusivity. With a pending court case Pfizer could settle with

   Ranbaxy, it could share its Lipitor market exclusivity and associated monopoly profits with

   Ranbaxy, extend existing market exclusivity, and later try to argue its settlement was lawful. But in

   early 2008 Pfizer had no litigation against Ranbaxy that it could settle.

          298.      So in order to eventually craft agreements to resolve litigation ostensibly relating to

   patents that extended Lipitor protection beyond March of 2010, Pfizer needed to first create the


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   illusion of litigation that involved patents that applied to Lipitor and were being asserted against

   Ranbaxy. And since Pfizer wished to extend further the purported patent life for Lipitor, it needed

   the illusion of litigation involving patents with a life beyond March 24, 2010 (the date the original

   ‘893 patent would expire) and beyond June 28, 2011 (the date on which the fraudulently-obtained

   ‘995 patent would expire, assuming Pfizer could somehow apply it to Ranbaxy). Pfizer turned to the

   two Process Patents, the ‘740 and ‘511 patents -- covering the reverse processes (from crystalline

   back to amorphous) for making amorphous atorvastatin calcium.

          299.    Despite the fact that the Ranbaxy court had previously rejected Pfizer‘s attempt to

   include the Process Patents in the Ranbaxy litigation due to a lack of standing, and despite the fact

   that no reasonable litigant would expect success on the merits, Pfizer decided that it would bring suit

   against Ranbaxy on the two process patents.

          300.    On or about March 24, 2008, Pfizer filed a complaint in the United States District

   Court for the District of Delaware alleging that Ranbaxy infringed the Process Patents (―Ranbaxy

   II‖). Thus, nearly five years after it first attempted to sue Ranbaxy for infringing the Process

   Patents, and knowing that a court had already ruled that it lacked standing under 28 U.S.C. §§ 2201

   and 2208 to do so, Pfizer again sued Ranbaxy for declaratory judgment of infringement of the very

   same Process Patents on the very same grounds that earlier resulted in dismissal.

          301.    A lawsuit based on the Process Patents was not justiciable years earlier. It was less so

   in Ranbaxy II. At the conclusion of the Ranbaxy case, the final judgment permanently enjoined

   Ranbaxy from engaging in the manufacture, use, offer to sell or sale of its generic version of Lipitor

   until the expiration of the ‗893 patent (March 24, 2010). Thus, in Ranbaxy II Ranbaxy itself argued

   ―any harm to Pfizer from alleged infringement of the [Process Patents is] much less imminent now




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   than in the [Ranbaxy] case when the Court found no imminent threat of harm or injury.‖ There was

   no jurisdiction for Ranbaxy II. Pfizer knew this.17

           302.     The Ranbaxy II complaint contained only the most conclusory of infringement

   allegations. The complaint included no factual allegations or support establishing that Ranbaxy‘s

   process satisfied the various elements of the claims of the Process Patents. The complaint did not

   even allege that Ranbaxy starts with the crystalline atorvastatin when making amorphous

   atorvastatin. Instead, it merely concludes:

                            30. Upon information and belief, Ranbaxy‘s Atorvastatin
                    Product is made or is intended to be made by a process which if
                    practiced in the United States would infringe the ‘511 patent.

                                                        * * *

                            41. Upon information and belief, Ranbaxy‘s Atorvastatin
                    Product is made or is intended to be made by a process which if
                    practiced in the United States would infringe the ‘740 patent.

           303.     These allegations were completely baseless as a matter of fact and law. There was no

   basis for Pfizer to believe that Ranbaxy was unaware of the elements of the Process Patents. Nor

   was there any basis to believe that Ranbaxy did not develop a manufacturing process that purposely

   avoided infringing on those patents. There were numerous forms of atorvastatin, other than the

   crystalline Form I specified in the Process Patents, that Ranbaxy could have (and, upon information

   and belief, did) use at the start of its manufacturing process. And there was no need for Ranbaxy to

   first create a crystalline form of atorvastatin calcium before forming an amorphous form of

   atorvastatin calcium.




   17
     Likewise, because process patents cannot be listed in the Orange Book, Pfizer could not (and did not) use the Process
   Patents to obtain the automatic 30-month stay of FDA approval of a pending ANDA.



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          304.    Moreover, Pfizer knew Ranbaxy intended to use amorphous atorvastatin as a starting

   material in manufacturing another generic atorvastatin drug, Caduet (a combination of Lipitor and

   another drug, Norvasc). Pfizer had no basis to believe that Ranbaxy would not similarly use non-

   infringing amorphous atorvastatin, or another non-infringing process to achieve amorphous

   atorvastatin, in its manufacturing. Nor did Pfizer have any reasonable expectation that during the

   discovery process it would learn information supporting a claim of infringement of the two Process

   Patents.

          305.     During the pendency of Ranbaxy II, Pfizer never produced any evidence to support

   its purely conclusory allegations that Ranbaxy infringed the Process Patents. Nor could it, since

   such allegations were false and baseless as a factual (and legal) matter.

          306.    As a result, the Process Patents had no exclusionary power vis-à-vis potential generic

   competitors, including Ranbaxy. Pfizer did not (and could not) prove the facts necessary to meet its

   burden of establishing infringement of each element of the Process Patents. Therefore, even though

   the Process Patents were presumed to be valid and enforceable, they had no exclusionary power.

   Pfizer could not use the Process Patents to exclude Ranbaxy (or likely any would-be generic entrant)

   from the market using the Process Patents.

   L.     2008: Pfizer and Ranbaxy enter into an illegal horizontal market allocation agreement.

          1.      With the illusion of litigation, Pfizer and Ranbaxy plan a settlement.

          307.    In the spring of 2008, Pfizer had created the illusion of patent infringement litigation

   between it and Ranbaxy. This was the only pending litigation between them relating to Lipitor sales

   in the United States.

          308.    Pfizer had no realistic likelihood of meeting its burden of establishing that Ranbaxy

   infringed these Process Patents. Ranbaxy knew this too. No objectively reasonable litigant would

   have believed otherwise.

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          309.    Pfizer and Ranbaxy also knew that Ranbaxy was the first filer of an ANDA for

   generic Lipitor. They understood Ranbaxy could market its generic Lipitor for 180 days free from

   competition from other ANDA filers. And they knew Ranbaxy‘s 180-day exclusivity gave it the

   ability – simply by refraining from launching its own generic Lipitor or from relinquishing the right

   to its 180-day exclusivity period – to prevent (or ―bottleneck‖) other generic competitors from

   entering the United States market.

          310.    Consequently, all Pfizer needed to do to delay all generic Lipitor competition was to

   enter into an agreement with Ranbaxy under which Ranbaxy would agree to delay the launch of its

   (the first) generic version of Lipitor. As the defendants knew, such an agreement would create a

   nearly insurmountable obstacle, a bottleneck, to generic competition for all ANDA filers for the

   duration of any such agreement.

          311.    So in the spring of 2008, Pfizer and Ranbaxy discussed the terms of an agreement to

   delay generic entry, in large part under the guise of the illusory Ranbaxy II litigation.

          2.      The illegal horizontal market allocation agreement.

          312.    On June 17, 2008, Pfizer and Ranbaxy executed an agreement to delay generic entry

   (the ―Delay Agreement‖). The agreement is an unlawful ―pay-for-delay‖ agreement.

          313.    To disguise the Delay Agreement‘s true anticompetitive purpose, Pfizer and Ranbaxy

   characterized the agreement as, in part, settling the Ranbaxy II litigation. That was a pretext for its

   true anticompetitive goals and accomplishments.

          314.    The Delay Agreement is an unlawful contract, combination and conspiracy to allocate

   the entire United States market for atorvastatin calcium to Pfizer until November 30, 2011.

          315.    Pursuant to the Agreement, Ranbaxy agreed that it would neither (a) compete directly

   with Pfizer with a generic Lipitor in the United States market nor (b) selectively waive or relinquish

   its first-to-file 180-day marketing exclusivity so as to permit any other ANDA filer to compete
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   directly against Pfizer with a generic Lipitor in the United States market until November 30, 2011.

   Absent the Delay Agreement and given the enormous profit opportunity generic Lipitor presented,

   Ranbaxy would have been highly motivated to pursue either of these courses far earlier. On the basis of

   all fact and FDA‘s desire to permit ANDA filers to bring low-cost generic products to market as soon as

   possible, absent the agreement Ranbaxy would have entered the market for atorvastatin calcium much

   sooner than it eventually did.

           316.    In exchange for Ranbaxy‘s agreement to delay its launch (and not to authorize

   another ANDA filer to launch) generic Lipitor until November 30, 2011, Pfizer gave Ranbaxy

   substantial consideration, including forgiveness of outstanding money judgments unrelated to

   generic Lipitor in the United States and the right to market generic Lipitor in at least eleven foreign

   markets. Absent Pfizer‘s compensation to Ranbaxy, Ranbaxy would not have agreed to any amount

   of delay in its launch of generic Lipitor (or to any delay its authorizing another ANDA filer to

   launch). At a minimum, absent the compensation to Ranbaxy, Ranbaxy would not have agreed to

   delay its launch (or to delay its authorizing another ANDA filer to launch) for as long as it did, and

   would instead have agreed only to a substantially shorter period of time before which it would enter.

           317.    The Delay Agreement also ostensibly gave Ranbaxy protection from infringement

   liability in connection with the variety of patents that purportedly covered atorvastatin. However,

   that ―consideration‖ was a sham, illusory, and merely inserted into the agreement to disguise the

   illegal horizontal agreement to allocate the entire United States market for atorvastatin calcium.

           318.    In fact and at law, no reasonable litigant would realistically expect any existing Pfizer

   patent to put Ranbaxy (or likely any other relevant ANDA filer) in danger of liability for

   infringement of any legitimately obtained patent past March of 2010 (the expiry of the ‘893 patent).

   No legitimately obtained patent posed any objectively reasonable or realistic threat of infringement



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   liability to Ranbaxy (or likely any other relevant ANDA filer) for making or selling generic Lipitor,

   other than the ‘893 patent. And as of the date of the Delay Agreement, the only means by which

   Pfizer could have prevented a launch by Ranbaxy of generic Lipitor on or after March 24, 2010 (or

   June 28, 2011) was by obtaining an injunction. But as Pfizer knew in 2008, obtaining such an

   injunction would have been impossible, because it would have required a showing that Pfizer was

   likely to succeed on the merits of baseless patent infringement claims.

          319.    Thus, upon the expiration of the ‗893 patent, Ranbaxy would have been able to enter

   with its generic product notwithstanding any later-expiring patent held by Pfizer. Ranbaxy would

   have done so immediately upon FDA approval. Ranbaxy has expressed its willingness to enter at

   risk with a generic product of other blockbuster drugs, telling one court that ―Ranbaxy [] presently

   intends to manufacture, use, sell and offer to sell drug products for which the ANDA has been

   submitted once the FDA approves the ANDA‖ -- in other words, Ranbaxy would launch its generic

   ―once the FDA approv[ed]‖ it and would not need to await final resolution of the patent case.

          320.    An infringement case against Ranbaxy (or any other ANDA filer), based upon any

   legitimately obtained Lipitor patent that expired after March 24, 2010, would have been (and was,

   with respect to, for example, Pfizer‘s suit claiming infringement of Pfizer‘s Process Patents) an

   objectively baseless sham. (And even if it is assumed, contrary to fact, that, the ‘995 patent was

   obtained legitimately, it expired by June 28, 2011, five months before November 30, 2011.) As a

   result, the Delay Agreement gave Pfizer protection from generic Lipitor competition beyond the

   lawful limits of its exclusionary power under any Lipitor-related patent. Nor did Pfizer or Ranbaxy

   subjectively believe there was any such legitimate threat of infringement from such patents.




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          321.    Pfizer has acknowledged the lack of lawful exclusionary power for a significant

   portion of this time, viz., from June of 2011, when the fraudulently procured ‘995 patent was set to

   expire. In 2005, before the Delay Agreement existed, Pfizer‘s former Chairman and CEO stated:

                  There are dozens of generic drug manufacturing companies with a red
                  circle around June 28, 2011. That‘s the day the patent for our anti-
                  cholesterol medication Lipitor expires. . . . Shortly thereafter a number
                  of generic alternatives to Lipitor will be introduced and consumers will
                  have a choice of generic tablets containing atorvastatin calcium[.]

          322.    Of course, only the fraudulently-procured ‘995 patent expired in June of 2011. Other

   patents purportedly covering Lipitor -- namely the Unasserted Formulation Patents, the ‘156 patent,

   and the Process Patents -- would expire between 2013 and 2017. If the Unasserted Formulation

   Patents, the Process Patents, and/or the ‘156 patent had any hope of legitimately keeping generics off

   the market, Pfizer‘s CEO would not have ignored them and the literally tens of billions of dollars

   they would have conferred on his company. His statement that June 28, 2011 is the key date only

   makes sense if one recognizes — as Pfizer did — that the Unasserted Formulation Patents, the

   Process Patents, and the ‘156 patent could not block generics from entering.

          3.      The Operation of the Delay Agreement

          323.    Nevertheless, pursuant to the Delay Agreement, Ranbaxy agreed not to sell its generic

   version of Lipitor in the United States until November 30, 2011 — twenty (20) months after the ‘893

   patent (and any associated marketing exclusivities) was scheduled to expire, and five (5) months

   after the fraudulently-obtained ‘995 patent would expire, if in fact it was reissued.

          324.    The reason that Ranbaxy agreed to keep its generic version of Lipitor off the market

   until well after the legitimate exclusionary power of Pfizer patents was that Ranbaxy was paid

   handsomely not to compete with Pfizer. Based upon the limited public disclosures to date regarding

   the terms of the Delay Agreement, Ranbaxy received at least the following compensation in

   exchange for its agreement to delay coming to market with its generic version of Lipitor in the
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   United States: (1) permission to sell generic versions of Lipitor in at least eleven foreign markets,

   including Canada, Belgium, Netherlands, Germany, Sweden, Italy, and Australia; and (2) the

   forgiveness of monies that Ranbaxy owed Pfizer based on one or more court judgments that Pfizer

   had obtained on infringement claims unrelated to generic Lipitor in the United States.

          325.    As part of the Delay Agreement, Ranbaxy also agreed not to challenge the validity of

   any Lipitor patent, including the ‘995 patent, which was then the subject of reissuance proceedings.

   Pursuant to the agreement, Ranbaxy dropped its challenge to the reissuance of the ‘995 patent — a

   challenge which had been successful prior to the date of the agreement.

          326.    In April of 2009, after Ranbaxy dropped its challenge, the PTO reissued the ‘995

   patent as the ‘667 patent. The ‘667 patent, like the ‘995 patent, would expire (and did expire) on

   June 28, 2011. Nevertheless, pursuant to the Agreement, which provided Ranbaxy with substantial

   compensation in exchange for its agreement not to compete, Ranbaxy could not sell its generic

   version of Lipitor until November 30, 2011, a full five months after the ‘667 patent expired.

          327.    In summary, the Delay Agreement was unlawful for at least the following reasons: (a)

   it constituted an illegal market allocation agreement, pursuant to which Pfizer paid substantial

   monies to its competitor, Ranbaxy, in exchange for Ranbaxy‘s agreement to allocate the entire

   United States market for atorvastatin calcium to Pfizer through November 30, 2011; (b) it restricted

   competition in a manner, and to an extent, that exceeds the exclusionary power and potential of

   Pfizer‘s Lipitor patents; (c) it purported to settle patent infringement litigation that arises from a

   patent (the ‘995 patent) that was procured by fraud upon the PTO; and (d) to the extent it purported

   to settle patent claims against Ranbaxy for infringement of any Lipitor-related patent extending past

   March 24, 2010, it was (with respect to the Process Patents), or would have been (with respect to the




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   Unasserted Formulation Patents, the ‘156 patent, the ‘995 patent, and ‘667 patent), baseless sham

   litigation that Pfizer and Ranbaxy knew had no realistic chance of prevailing on the merits.

          328.    There is and was no cognizable, non-pretextual procompetitive justification for the

   Delay Agreement, and/or for the compensation flowing to Ranbaxy under the agreement. Even if

   there were some conceivable justification, the Agreement, and the compensation flowing to Ranbaxy

   under the agreement, were not reasonably necessary to achieve it.

          329.    Defendants did not need to resort to payments from Pfizer to Ranbaxy in order to

   resolve their patent litigation. To the contrary, according to FTC analyses, in 2004 and 2005, 90%

   of agreements between brand and generic manufactures settling patent disputes contained no

   anticompetitive payment from the brand to the generic manufacturer. Like the parties to such

   agreements identified by FTC, were it not for the anticompetitive payment from Pfizer to Ranbaxy,

   if Defendants would have entered into an agreement at all, they would have entered into an

   agreement providing that Pfizer would not compensate Ranbaxy for delay, and that Ranbaxy would

   enter far earlier than the Delay Agreement provided.

   M.     Using the unlawful Delay Agreement, the defendants thwarted other ANDA filers from
          triggering Ranbaxy’s 180-day marketing exclusivity.

          330.    The Delay Agreement sought to prevent other ANDA filers from launching their

   own generic versions of Lipitor before Ranbaxy did. Ranbaxy‘s anticipated 180-day marketing

   exclusivity as the first filer of a generic Lipitor ANDA would mean that only Ranbaxy‘s own first

   commercial marketing of its ANDA product would trigger the 180-day period. Before the expiration

   of that 180-day period, other generic Lipitor ANDA filers could not market their generic versions of

   Lipitor.

          331.    The way that other ANDA filers could trigger Ranbaxy‘s 180-day exclusivity was by

   obtaining court decisions that all of the unexpired patents Pfizer listed in the FDA ―Orange Book‖ as


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   claiming Lipitor were invalid or not infringed. If another ANDA filer were to obtain such court

   decisions, Ranbaxy‘s 180-day first-to-file marketing exclusivity would commence running, even if

   Ranbaxy had not yet begun commercial marketing of its ANDA product by that time, and even if

   Ranbaxy did not want its exclusivity to commence running.

          332.    Another way that other ANDA filers could circumvent Ranbaxy‘s 180-day

   exclusivity was by convincing FDA to deprive Ranbaxy of a 180-day exclusivity period and approve

   the ANDAs of other generic companies unimpeded by any 180-day period.

          333.    These two possibilities were of substantial concern to Pfizer and Ranbaxy in 2008,

   when they reached the Delay Agreement. Pfizer did not want generic Lipitor competition earlier

   than the November 30, 2011 date provided in the Agreement, and Ranbaxy did not want any

   involuntary triggering or forfeiture of its anticipated, and enormously valuable, 180-day first-to-file

   marketing exclusivity. Such events would frustrate the Agreement, and threaten to diminish or

   eliminate the value of Pfizer‘s extended exclusivity and of Ranbaxy‘s 180-day exclusivity. Pfizer

   and Ranbaxy shared a keen interest in ensuring that Ranbaxy‘s 180-day exclusivity commenced as

   late as possible, and was protected by preventing other ANDA applicants for generic Lipitor from

   coming to market.

          334.    To prevent the involuntary triggering of Ranbaxy‘s 180-day exclusivity prior to

   November 30, 2011, Pfizer (in furtherance of the Delay Agreement) thwarted the efforts of generic

   manufacturers to obtain judgments of invalidity or non-infringement with respect to the Unasserted

   Formulation Patents.

          335.    To effectuate this campaign, Pfizer settled cases prior to judgments on the merits,

   vigorously opposed the efforts of ANDA applicants to obtain declarations that the Unasserted

   Formulation Patents were invalid and/or not infringed, and otherwise engaged in a pattern of dilatory



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   conduct designed to forestall, prior to Ranbaxy‘s agreed-upon November 30, 2011 entry date,

   judicial decisions that the Unasserted Formulation Patents were invalid and/or not infringed.

           1.     Apotex.

           336.   For instance, after it received a Paragraph IV certification in December of 2008 from

   Apotex, Inc. and Apotex Corporation (―Apotex‖) as to the ‘995 patent, the Unasserted Formulation

   Patents, and the ‘156 patent, Pfizer sued Apotex for infringement of only the ‘995 Patent. Apotex‘s

   answer included counterclaims, pursuant to 21 U.S.C. § 355(j)(5)(C), asserting non-infringement and

   invalidity of the both the ‘995 patent (and ‘667 reissue patent), the Unasserted Formulation Patents,

   and the ‘156 patent.

           337.   As the Apotex trial court recognized: ―Apotex‘s hope is to obtain a decision from this

   Court that the Unasserted Patents are invalid or are not infringed by Apotex‘s product, thereby

   triggering Ranbaxy‘s exclusivity period. Absent such a court ruling (either in this case or in

   litigation involving another subsequent ANDA filer), Apotex will not be able to market its generic

   atorvastatin drug until 180 days after Ranbaxy begins marketing its drug, which, as a result of the

   settlement agreement between Pfizer and Ranbaxy, will not occur until November 2011 at the

   earliest.‖

           338.   In furtherance of the Delay Agreement, Pfizer sought dismissal of Apotex‘s

   counterclaims, arguing that they were nonjusticiable.

           339.   Although the Apotex court denied Pfizer‘s motion to dismiss, the motion had its

   intended effect: it delayed discovery and litigation for well over a year and, combined with

   subsequent litigation delay tactics surrounding discovery and summary judgment motions, prevented

   Apotex from obtaining a judgment of non-infringement and invalidity of the Unasserted Formulation

   Patents and the ‘156 patent before November 30, 2011.



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          2.      Mylan.

          340.    On May 1, 2009, Mylan sent Pfizer a letter providing notice of Mylan‘s ANDA

   submission and intent to market a generic version of Lipitor, supplying a Paragraph IV certification

   as to the Unasserted Formulation Patents and the ‘156 patent, and offering confidential access to

   certain portions of Mylan‘s ANDA. By June 15, 2009, Pfizer had filed an action against Mylan

   alleging infringement of only the ‘156 patent, and seeking a declaratory judgment of infringement of

   the Process Patents.

          341.    Mylan filed a motion for leave to file an amended answer containing counterclaims

   pertaining to the Unasserted Formulation Patents, to obtain a declaration of noninfringement and/or

   invalidity with respect to them. In support of that effort, Mylan sought discovery regarding the

   Unasserted Formulation Patents. Mylan‘s motion to compel discovery was granted by court order

   on August 25, 2010.

          342.    But Pfizer continued to refuse to supply Mylan with the discovery it required. Mylan

   was forced to file an emergency motion to enforce the court‘s discovery order.

          343.    To frustrate Mylan‘s continued efforts to obtain discovery and thus proceed with its

   counterclaims pertaining to the Unasserted Formulation Patents, Pfizer, on August 30, 2010, hastily

   covenanted not to sue Mylan on them, hoping to moot Mylan‘s continued efforts to discover facts

   that would assist its counterclaims and the court‘s order of August 25, 2010 compelling that

   discovery.

          344.    The court expressed frustration with Pfizer‘s litigation tactics regarding the

   Unasserted Formulation Patents, and enforced its order requiring Pfizer to supply discovery to

   Mylan pertaining to the Unasserted Patents:

                  I‘m granting Mylan‘s request. I‘m very troubled by the conduct of
                  Pfizer here with respect to this ongoing discovery dispute. The way I
                  see it, if Pfizer wanted to provide a covenant not to sue, it was within
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                  its authority at any time to provide the covenant not to sue with respect
                  to the formulation patents. For whatever reasoning only known to
                  Pfizer, they waited until August 30th [2010] to give the covenants not
                  to sue, which was perhaps not coincidently shortly after the issuance of
                  the August 25th order granting the defendants‘ request for discovery *
                  * * That‘s simply just not how this is supposed to work.

          345.    Pfizer continued to delay the progress of the case. In a November 20, 2010 letter to

   the court regarding Dr. Reddy‘s Laboratories Ltd.‘s (―DRL‖) request to be heard at the Markman

   hearing in the Mylan patent litigation pertaining to the ‘156 patent, counsel for Mylan complained

   about Pfizer‘s continued dilatory tactics: ―Pfizer uses DRL‘s request to be heard on the ‘156 patent

   as another opportunity to attempt to delay the Pfizer-Mylan cases.‖

          346.    Mylan also sought to remove Ranbaxy‘s blocking 180-day exclusivity period by way

   of a separate action against FDA seeking an order requiring FDA to determine whether or not

   Ranbaxy was entitled to a 180-day first-to-file marketing exclusivity.

          3.      Actavis.

          347.    In August of 2010, Pfizer sued Actavis Group hf, Actavis Inc., Actavis Elizabeth

   LLC and Actavis Pharma Manufacturing Private Ltd. (collectively ―Actavis‖) after Actavis

   submitted to FDA an ANDA seeking approval to market generic Lipitor. Although Actavis had

   included the Unasserted Formulation Patents in its Paragraph IV certification, Pfizer sued Actavis

   only for infringement of the ‘156 patent.

          348.    In September 2010, Actavis counterclaimed for declaratory judgment of invalidity

   and non-infringement of the Unasserted Formulation Patents. Pfizer moved to dismiss these

   counterclaims as unripe. In opposing that motion, Actavis argued that ―Pfizer‘s listing of the

   [Unasserted Formulation Patents] in the Orange Book and its refusal to litigate them creates patent

   uncertainty and indefinitely delays the approval of Actavis‘ ANDA,‖ and noted that ―[e]ven if Pfizer

   granted Actavis a covenant not to sue on the [Unasserted Formulation Patents], however, it would


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   not address the fact that Actavis is suffering from an indefinite delay in FDA approval of its ANDA

   and its concurrent inability to enter the market.‖

           349.    Actavis also argued that, by virtue of Pfizer‘s agreement with Ranbaxy and its refusal

   to litigate the validity and infringement of its Unasserted Formulation Patents, ―Actavis is being

   restrained from the free exploitation of non-infringing goods, it is suffering exactly the type of

   injury-in-fact that is sufficient to establish Article III standing‖ (internal citations and quotations

   omitted).

           350.    Despite their efforts to do so, no ANDA filer was able to circumvent the Delay

   Agreement between Pfizer and Ranbaxy by triggering Ranbaxy‘s 180-day marketing exclusivity

   prior to November 30, 2011.

   N.      Ranbaxy’s ANDA would have been approved earlier absent Defendants’
           anticompetitive scheme.

           351.    Ranbaxy‘s atorvastatin calcium ANDA would have received final approval earlier

   absent the defendants‘ anticompetitive conduct. The FDA has policies and procedures in place to

   prioritize the review of ANDAs, e.g., expediting the review of the first applications for which there

   are no blocking patents or exclusivities. Regarding the FDA‘s review of applications for generic

   Lipitor, the Delay Agreement blocked the applicants, including Ranbaxy, from marketing their

   products. The FDA was aware that the earliest date Ranbaxy could market generic Lipitor under its

   Agreement with Pfizer was November 30, 2011. As Ranbaxy maintained the 180-day exclusivity,

   all subsequent applicants were blocked from marketing generic Lipitor as well, until Ranbaxy‘s

   exclusivity was triggered and had elapsed.

           352.    Furthermore, the FDA was under tremendous pressure, including from Congress, to

   speed consumer access to generic Lipitor at the earliest possible moment. Ranbaxy was also under

   tremendous pressure to monetize its biggest asset, i.e., its first-to-file (―FTF‖) atorvastatin ANDA, at


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   the earliest possible moment, so much so that Ranbaxy paid Teva a large amount of money — in

   effect an insurance policy — in order to ensure that Ranbaxy was able to launch generic Lipitor at

   the earliest possible moment.

           353.    As it turned out, Ranbaxy was granted final approval on November 30, 2011, i.e.,

   simultaneously with the earliest possible moment Ranbaxy could market generic Lipitor under the

   Delay Agreement with Pfizer defendants. Ranbaxy launched generic Lipitor in advance of that date,

   under ―quarantine‖ agreements with wholesalers. Had the Delay Agreement permitted an earlier

   entry date, or had there been no such Delay Agreement at all, generic Lipitor could have been, and

   would have been, marketed earlier than November 30, 2011, because the FDA would have granted

   final approval earlier and Ranbaxy would have launched earlier.

           354.    The FDA did not earlier issue its formal written denial of Pfizer‘ petition until

   November 30, 2011 for the same reason: the FDA knew from Ranbaxy that the Agreement

   prevented Ranbaxy from coming onto the market until November 30, 2011. Thus, there was no need

   for the FDA to issue the formal written denial of Pfizer‘s Petition earlier than November 30, 2011,

   and it was for that reason that it did not do so.

           1.      The longstanding FDA policy of prioritizing the review of ANDAs.

           355.    As a matter of procedure and practice, the FDA has long employed methods of

   prioritizing the review of pending applications. For example, in 1990 the Division of Generic Drugs

   within the FDA issued a policy and procedure guide establishing a ―first-in, first-reviewed‖ policy

   for generic drug applicants. This policy, along with similar guidance for the pharmaceutical

   industry, has been updated and modified from time to time and is still in place today. One of the

   modifications which have been instituted over the years is to prioritize the review of the first

   ANDAs for which there is no blocking patent or exclusivity.



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          356.    Similarly, the FDA has been experiencing a backlog of pending applications, such

   that prioritizing ANDA review is more important than ever. Furthermore, as a matter of procedure

   and practice, in a situation where an ANDA filer will not be able to market a drug until a time far

   into the future, such as Ranbaxy‘s generic Lipitor ANDA due to the Delay Agreement, the FDA

   shifts assets to other priorities within the Office of Generic Drugs. FDA prioritizes the review of

   ANDAs in this way by keeping abreast of the current posture of any litigation that may impact the

   timing of approval of an ANDA. For instance, as a matter of procedure and practice, upon accepting

   an ANDA for filing, the FDA expressly requests that the applicant promptly submit a copy of any

   settlement agreement between the applicant and the patent holder.

          2.      The FDA’s review of Ranbaxy’s ANDA for atorvastatin calcium.

          357.    On June 18, 2008 Ranbaxy publicly announced the Delay Agreement in which

   Ranbaxy‘s launch date was delayed until November 30, 2011. Ranbaxy submitted this information

   to the FDA shortly thereafter.

          358.    Thus, due to the FDA‘s longstanding policy of prioritizing the review of ANDAs and

   the recent pressure of the ANDA backlog, on information and belief, once FDA learned of the fact

   that the first generic for Lipitor, i.e., Ranbaxy, would not be marketed until November 30, 2011,

   FDA shifted assets away from Ranbaxy‘s ANDA and the petition and toward other priorities within

   FDA until the November date drew closer.

          3.      The tremendous pressure on the FDA to approve generic Lipitor.

          359.    That the FDA was under immense pressure to approve a generic Lipitor product also

   shows that it would have earlier approved Ranbaxy‘s ANDA absent the agreed-to date for

   Ranbaxy‘s market entry contained in the Delay Agreement.

          360.    For example, on March 10, 2011 Senate Health, Education, Labor, and Pensions

   Committee Chairman Tom Harkin, along with Senators Jay Rockefeller, Charles Schumer, Debbie

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   Stabenow, and Sherrod Brown sent a letter to FDA Commissioner Dr. Margaret Hamburg. In the

   letter the Senators stated, ―Given the tremendous savings that access to generic atorvastatin will

   afford both consumers and the government, we urge you to act now to clarify the relevant regulatory

   issues in the matter so the public can receive access to a more affordable generic version of Lipitor

   on the earliest possible date.‖ The ―tremendous savings‖ to consumers and the government would be

   between ―$3.97 billion to $6.7 billion a year upon generic entry, which equates to $10.9 million to

   $18.3 million a day.‖ Likewise, the FDA recognized the importance and cost savings of having a

   generic Lipitor available to consumers.

          4.      The tremendous pressure on Ranbaxy to market a generic Lipitor and/or
                  otherwise monetize its first-to-file exclusivity.

          361.    Ranbaxy, too, was motivated to monetize its first-to-file 180-day marketing

   exclusivity, and would have more rapidly pursued its atorvastatin calcium ANDA absent the agreed-

   to date for Ranbaxy‘s market entry contained in the Delay Agreement.

          362.    The first-to-file generic Lipitor was a tremendous opportunity for Ranbaxy. Despite

   only being on the market with a generic Lipitor for one month of 2011, atorvastatin calcium was

   Ranbaxy‘s largest selling product in 2011. Ranbaxy also achieved sales growth of 17% over the

   previous year, ―mainly on account of revenues from First to File product, Atorvastatin, in the US

   market in December 2011.‖

          363.    In order to capitalize on the first to file opportunity, Ranbaxy took steps to ensure

   issues related its good manufacturing practices did not prevent it from being able to market generic

   Lipitor. For instance, on information and belief, in December 2009 Ranbaxy effectuated a

   manufacturing site transfer of atorvastatin calcium from its facility in India to Ranbaxy‘s wholly-

   owned subsidiary, Ohm Laboratories in New Jersey. So whatever issues Ranbaxy may have been

   having with FDA regulatory compliance at one or more of its facilities in India did not affect the


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   Ohm facility in New Jersey. This is borne out by the fact that Ranbaxy ultimately received approval

   to market generic Lipitor in the U.S. from the Ohm facility in New Jersey.

           364.    Absent the defendants‘ anticompetitive scheme, Ranbaxy could and would have

   proceeded with a manufacturing site transfer earlier, either to Ohm or to another facility. On

   information and belief, the Ohm facility had been operational for Ranbaxy for quite some time and

   was available for a site transfer in the relevant time period at issue here.

           365.    In fact, at or around the same time Ranbaxy filed its ANDA for atorvastatin calcium,

   Ranbaxy also filed the first ANDA to market a strength of a drug in the same ―statin‖ family as

   atorvastatin calcium, simvastatin. On information and belief, as with atorvastatin, Ranbaxy

   effectuated a manufacturing site transfer for simvastatin from India to the Ohm facility in New

   Jersey. Ranbaxy received final approval for its simvastatin ANDA on June 23, 2006 and began

   marketing its first-to-file generic shortly after.

           366.    Similarly, on information and belief, in the same time period as the atorvastatin

   calcium filing, Ranbaxy filed the first ANDA with FDA to market donepezil hydrochloride.

   Donepezil hydrochloride is the active ingredient in Aricept. On information and belief, Aricept had

   approximately $2.6B in sales in 2010. On information and belief, around the time of the atorvastatin

   calcium site transfer in December 2009, Ranbaxy effectuated a site transfer of donepezil

   hydrochloride from India to the Ohm facility in New Jersey. On information and belief, on the first

   day a generic could be marketed, November 26, 2010 Ranbaxy received approval with first-to-file

   exclusivity to market donepezil hydrochloride. In 2011 donepezil was the second best performing

   product after atorvastatin calcium.

           367.    Finally, on information and belief Ranbaxy and Teva entered into an agreement to

   ensure Ranbaxy was able to market its generic Lipitor at the earliest time that it was ready to do so.



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   Negotiations between Ranbaxy and Teva regarding generic Lipitor began in 2009. Ranbaxy and

   Teva negotiated three possible ways of monetizing Ranbaxy‘s first to file ANDA: (1) a

   manufacturing site transfer from Ranbaxy‘s facility in India to Teva, under which Teva would pay

   Ranbaxy a lump sum transfer fee and royalties on sales of generic Lipitor; (2) Ranbaxy and Teva

   both launch generic Lipitor; and (3) Ranbaxy successfully effectuates the manufacturing site transfer

   from India to the Ohm facility in New Jersey, pays Teva back the lump sum transfer fee, and Teva

   shares a portion of Ranbaxy‘s profits for generic Lipitor. Ranbaxy and Teva signed an agreement

   regarding generic Lipitor in 2010 containing some or all of these options and/or other options.

          368.    Once Ranbaxy made the decision to partner with another company in order to

   monetize generic Lipitor, it is hardly surprising Ranbaxy chose Teva. It is well known in the

   industry that Teva looks to partner with 180-day exclusivity holders given the profit opportunity

   such exclusivities present.

          369.    Since Ranbaxy gained approval to market generic Lipitor from its Ohm facility in

   New Jersey, on information and belief, it never needed the insurance policy the deal with Teva

   effectively provided. However, Ranbaxy still paid Teva a substantial amount of money in order to

   be able to monetize its first-to-file atorvastatin calcium ANDA at the earliest possible moment under

   the Delay Agreement.

                                      INTERSTATE COMMERCE

          370.    The defendants‘ efforts to monopolize and restrain competition in the market for

   atorvastatin calcium have substantially affected interstate and foreign commerce.

          371.    At all material times, Pfizer manufactured, promoted, distributed, and sold substantial

   amounts of branded Lipitor in a continuous and uninterrupted flow of commerce across state and

   national lines and throughout the United States. Beginning around November 30, 2011, Ranbaxy

   did the same with respect to generic Lipitor.
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          372.    At all material times, Pfizer transmitted funds, contracts, invoices and other forms of

   business communications and transactions in a continuous and uninterrupted flow of commerce

   across state and national lines in connection with the sale of branded Lipitor. Beginning around

   November 30, 2011, Ranbaxy did the same with respect to generic Lipitor.

          373.    In furtherance of their efforts to monopolize and restrain competition in the market

   for atorvastatin calcium, the defendants employed the United States mails and interstate and

   international telephone lines, as well as means of interstate and international travel. The activities of

   the defendants were within the flow of and have substantially affected interstate commerce.

                         MONOPOLY POWER AND MARKET DEFINITION

          374.    At all relevant times, Pfizer had monopoly power over atorvastatin calcium because

   they had the power to maintain the price of atorvastatin calcium at supracompetitive levels without

   losing substantial sales.

          375.    A small but significant, non-transitory price increase by Pfizer to Lipitor would not

   have caused a significant loss of sales.

          376.    Lipitor does not exhibit significant, positive cross-elasticity of demand with respect to

   price, with any product other than AB-rated generic versions of Lipitor.

          377.    Due to the federal and state statutes and regulations governing the marketing of brand

   and generic drugs, industry practices and Lipitor‘s use and varying ability to inhibit the production

   of cholesterol, Lipitor is differentiated from all products other than AB-rated generic versions of

   Lipitor.

          378.    Pfizer needed to control only Lipitor and its AB-rated generic equivalents, and no

   other products, in order to maintain the price of Lipitor profitably at supracompetitive prices. Only

   the market entry of a competing, AB-rated generic version of Lipitor would render Pfizer unable to

   profitably maintain their current prices of Lipitor without losing substantial sales.
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          379.    Pfizer also sold branded Lipitor at prices well in excess of marginal costs, and in

   excess of the competitive price, and enjoyed high profit margins.

          380.    The defendants have had, and exercised, the power to exclude generic competition to

   branded Lipitor.

          381.    The defendants, at all relevant times, enjoyed high barriers to entry with respect to

   branded and generic Lipitor.

          382.    To the extent that the direct purchasers are legally required to prove monopoly power

   circumstantially by first defining a relevant product market, they allege that the relevant market is all

   atorvastatin calcium products — i.e., Lipitor (in all its forms and dosage strengths) and AB-rated

   bioequivalent atorvastatin calcium products. During the period relevant to this case, the defendants

   have been able to profitably maintain the price of Lipitor well above competitive levels.

          383.    The relevant geographic market is the United States and its territories.

          384.    Pfizer‘s market share in the relevant market was 100% at relevant times.

                                           MARKET EFFECTS

          385.    Ranbaxy began to ship generic Lipitor to direct purchasers and other members of the

   Direct Purchaser Class on or shortly before November 29, 2011, prior to receiving formal, written

   final approval of its ANDA from FDA. Ranbaxy informed the direct purchasers and other members

   of the Direct Purchaser Class that such shipments of generic Lipitor were subject to ―quarantine,‖

   meaning that the generic Lipitor could not be resold until FDA‘s issuance to Ranbaxy of formal,

   written ANDA approval.

          386.    FDA delayed issuing written approval for Ranbaxy‘s ANDA until November 30,

   2011, because FDA was informed that the Delay Agreement prevented Ranbaxy from selling generic

   Lipitor until November 30, 2011. Ranbaxy‘s ANDA was in an approvable condition well before

   November 30, 2011 and, were it not for the Agreement, would have received final FDA approval at
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   a much earlier time. By practice FDA organizes its priorities around ―rate limiters,‖ and the

   Agreement was a rate limiter that caused FDA to wait until November 30, 2011 to issue formal,

   written approval to Ranbaxy‘s ANDA.

          387.    The acts and practices of Pfizer alone, and of Pfizer and Ranbaxy working together,

   had the purpose and effect of restraining competition unreasonably and injuring competition by

   protecting Lipitor from generic competition for a substantial period of time until November 30, 2011

   and such later time as the effects of suppressed generic competition will abate. The defendants‘

   actions allowed Pfizer to maintain a monopoly and exclude competition in the market for

   atorvastatin calcium, to the detriment of the direct purchasers and all other members of the Direct

   Purchaser Class.

          388.    As a direct and proximate result of some or all of the defendants‘ overarching

   anticompetitive scheme, Ranbaxy or one or more other generic competitors would have begun

   selling AB-rated generic versions of Lipitor sooner than November 30, 2011, when Ranbaxy

   launched. As a direct and proximate result of the defendants‘ overarching anticompetitive scheme,

   in whole or in part, Ranbaxy or one or more generic competitors would have launched generic

   Lipitor earlier than they did.

          389.    Ranbaxy and the other ANDA applicants seeking to market generic Lipitor had

   extensive experience in the pharmaceutical industry, including in obtaining approval for ANDAs,

   manufacturing commercial launch quantities adequate to meet market demand, marketing generic

   pharmaceutical products, and paying and receiving consideration for selective waiver and/or

   relinquishment of 180-day first-to-file marketing exclusivities.

          390.    As a result of the delay in generic Lipitor competition brought about by defendants‘

   overarching anticompetitive scheme, in whole or in part, the direct purchasers and the members of



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   the Direct Purchaser Class paid more for atorvastatin calcium than they would have paid absent the

   defendants‘ illegal conduct.

             391.   Typically, generic versions of brand-name drugs are initially priced significantly

   below the corresponding branded drug to which they are AB-rated. As a result, upon generic entry,

   some or all of the direct purchases of branded drugs are rapidly substituted for generic versions of

   the drug. As more generic manufacturers enter the market, prices for generic versions of a drug

   predictably plunge even further because of competition among the generic manufacturers, and,

   correspondingly, the brand name drug continues to lose even more market share to the generics.

             392.   This price competition enables all direct purchasers of the drugs to: (a) purchase

   generic versions of a drug at a substantially lower price, and/or (b) purchase the brand name drug at

   a reduced price. Consequently, brand name drug manufacturers have a keen financial interest in

   delaying the onset of generic competition, and direct purchasers experience substantial overcharges

   from that delay.

             393.   If generic Lipitor competitors had not been unlawfully prevented from earlier

   entering the market and competing with the defendants, the direct purchasers and members of the

   Class would have paid less for atorvastatin calcium by (a) substituting purchases of less-expensive

   AB-rated generic Lipitor for their purchases of more-expensive branded Lipitor, (b) paying less for

   their remaining branded Lipitor purchases, and (c) purchasing generic Lipitor at lower generic prices

   sooner.

             394.   Moreover, due to the defendants‘ conduct, other generic manufacturers were

   discouraged from and/or delayed in developing generic versions of Lipitor.




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          395.    Thus, the defendants‘ unlawful conduct deprived the direct purchasers and the

   members of the Direct Purchaser Class of the benefits of competition that the antitrust laws were

   designed to ensure.

                                          ANTITRUST IMPACT

          396.    During the relevant period, direct purchasers and members of the Direct Purchaser

   Class purchased substantial amounts of Lipitor from Pfizer, and substantial amounts of generic

   Lipitor from Ranbaxy. As a result of the defendants‘ illegal conduct, members of the Class were

   compelled to pay, and did pay, artificially inflated prices for their atorvastatin calcium requirements.

   Those prices were substantially greater than the prices that members of the Class would have paid

   absent the illegal conduct alleged herein, because: (1) the price of brand-name Lipitor was

   artificially inflated by defendants‘ illegal conduct and/or (2) Class members were deprived of the

   opportunity to purchase lower-priced generic versions of Lipitor sooner.

          397.    As a consequence, the direct purchasers and members of the Direct Purchaser Class

   have sustained substantial losses and damage to their business and property in the form of

   overcharges. The full amount and forms and components of such damages will be calculated after

   discovery and upon proof at trial.

                                   CLASS ACTION ALLEGATIONS

          398.    The direct purchasers, on behalf of themselves and all Direct Purchaser Class

   members, seek damages, measured as overcharges, trebled, against the defendants based on

   allegations of anticompetitive conduct in the market for atorvastatin calcium, i.e., branded Lipitor

   and its generic equivalents.

          399.    The direct purchasers bring this action on behalf of themselves and, under Fed. R.

   Civ. P. 23(a) and (b)(3), as representatives of a Direct Purchaser Class defined as follows:



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                  All persons or entities in the United States and its territories who
                  purchased and/or paid for or will pay for Lipitor and/or generic
                  equivalents directly from any of the defendants at any time during the
                  period March 24, 2010 through and until the anticompetitive effects of
                  defendants‘ conduct cease (the ―Class Period‖).

   Excluded from the Direct Purchaser Class are the defendants and their officers, directors,

   management, employees, subsidiaries, or affiliates, and all federal governmental entities.

          400.    Members of the Direct Purchaser Class are so numerous that joinder is impracticable.

   The direct purchasers believe that there are numerous class members. Further, the Direct Purchaser

   Class is readily identifiable from information and records that are required by law to be maintained

   by the Defendants.

          401.    The direct purchasers‘ claims are typical of the claims of the members of the Direct

   Purchaser Class. The direct purchasers and all members of the Class were damaged by the same

   wrongful conduct of the defendants, i.e., they paid artificially inflated prices for atorvastatin calcium

   and were deprived of the benefits of competition from cheaper generic versions of Lipitor as a result

   of Defendants‘ wrongful conduct.

          402.    The direct purchasers will fairly and adequately protect and represent the interests of

   the Direct Purchaser Class. The interests of the direct purchasers are coincident with, and not

   antagonistic to, those of the Direct Purchaser Class.

          403.    The direct purchasers are represented by counsel who are experienced and competent

   in the prosecution of class action antitrust litigation. Counsel have particular experience with class

   action antitrust litigation involving pharmaceutical products.

          404.    Questions of law and fact common to the members of the Direct Purchaser Class

   predominate over questions that may affect only individual class members because the defendants

   have acted on grounds generally applicable to the entire Direct Purchaser Class, thereby making



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   overcharge damages with respect to the Direct Purchaser Class as a whole appropriate. Such

   generally applicable conduct is inherent in the defendants‘ wrongful conduct.

          405.    Questions of law and fact common to the Direct Purchaser Class include:

          a.      whether Pfizer willfully obtained and/or maintained monopoly power over Lipitor
                  and its generic equivalents;

          b.      whether Ranbaxy entered into a contract, combination, and/or conspiracy with Pfizer
                  to restrain trade and, if so, whether it should be evaluated under the rule of per se
                  illegality, the ―rule of reason,‖ the ―quick look‖ standard, or some other rule or
                  standard;

          c.      whether Pfizer acting alone, or Pfizer and Ranbaxy acting together, through their
                  overarching anticompetitive scheme, unlawfully excluded competitors and/or
                  potential competitors from the market for atorvastatin calcium, i.e., Lipitor and its
                  AB-rated generic bioequivalents;

          d.      whether the defendants unlawfully delayed or prevented generic manufacturers from
                  coming to market in the United States;

          e.      whether the defendants maintained monopoly power by delaying generic entry;

          f.      whether the law requires definition of a relevant market when direct proof of
                  monopoly power is available, and if so the definition of the relevant market;

          g.      whether the activities of the defendants as alleged herein have substantially affected
                  interstate commerce;

          h.      whether, and to what extent, the defendants‘ conduct caused antitrust injury (i.e.,
                  overcharges) to the direct purchasers and the members of the Class; and

          i.      the quantum of aggregate overcharge damages to the Class.

          406.    Class action treatment is a superior method for the fair and efficient adjudication of

   the controversy. Such treatment will permit a large number of similarly situated, geographically

   dispersed persons or entities to prosecute their common claims in a single forum simultaneously,

   efficiently, and without the unnecessary duplication of evidence, effort, or expense that numerous

   individual actions would engender. The benefits of proceeding through the class mechanism,

   including providing injured persons or entities a method for obtaining redress on claims that could



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   not practicably be pursued individually, substantially outweighs potential difficulties in management

   of this class action.

           407.    The direct purchasers know of no special difficulty to be encountered in the

   maintenance of this action that would preclude its maintenance as a class action.

                                          CLAIMS FOR RELIEF

                              CLAIM I: VIOLATION OF 15 U.S.C. § 2
                      (Monopolization And Monopolistic Scheme Against Pfizer Only)

           408.    The direct purchasers hereby incorporate each preceding and succeeding paragraph as

   though fully set forth herein.

           409.    This claim is pled as to the Pfizer defendants only.

           410.    At all relevant times, Pfizer possessed substantial market power (i.e., monopoly

   power) in the relevant market. The Pfizer defendants possessed the power to control prices in,

   prevent prices from falling in, and exclude competitors from the relevant market.

           411.    Through the overarching anticompetitive scheme, including the Delay Agreements,

   sham citizen petition, and other misconduct as alleged herein, the Pfizer defendants willfully

   maintained their monopoly power in the relevant market using restrictive or exclusionary conduct,

   rather than by means of greater business acumen, and injured the direct purchasers and all members

   of the Direct Purchaser Class.

           412.    It was Pfizer‘s conscious object to further their dominance in the relevant market by

   and through the overarching anticompetitive scheme.

           413.    As a direct and proximate result of the Pfizer defendants‘ illegal and monopolistic

   conduct, the direct purchasers and all members of the Direct Purchaser Class were harmed.




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                              CLAIM II: VIOLATION OF 15 U.S.C. § 1
                           (Agreement in restraint of trade against all defendants)

          414.    The direct purchasers hereby incorporate each preceding and succeeding paragraph as

   though fully set forth herein.

          415.    This claim is pled against all defendants.

          416.    In 2008, Pfizer and Ranbaxy entered into the Delay Agreement, and Ranbaxy thereby

   joined Pfizer‘s overarching anticompetitive scheme as a co-conspirator. The Delay Agreement is

   and was a contract, combination and/or conspiracy that substantially, unreasonably, and unduly

   restrained trade in the relevant market, the purpose and effect of which were to: (a) allocate all sales

   of atorvastatin calcium in the United States to the Pfizer defendants until November 30, 2011; (b)

   prevent the sale of any generic version of atorvastatin calcium in the United States until November

   30, 2011; and (c) fix the price at which the direct purchasers and all members of the Direct Purchaser

   Class would pay for atorvastatin calcium.

          417.    Under the Delay Agreement, Pfizer paid Ranbaxy compensation, and in exchange

   Ranbaxy agreed to, and did, delay introduction of its generic Lipitor.

          418.    The Delay Agreement harmed the direct purchasers and all members of the Direct

   Purchaser Class.

          419.    The Delay Agreement covered a sufficiently substantial percentage of the relevant

   market to harm competition.

          420.    Pfizer and Ranbaxy are each per se liable for the creation, maintenance, and

   enforcement of the Delay Agreement.

          421.    Alternatively, Pfizer and Ranbaxy are liable for the Delay Agreement under a ―quick

   look‖ and/or rule of reason standard.




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          422.    There is and was no legitimate, nonpretextual, procompetitive business justification

   for the Delay Agreement, nor for the compensation to Ranbaxy under the Agreement, that outweighs

   its harmful effect. Even if there were some conceivable such justification, the Delay Agreement is

   and was broader than necessary to achieve such a purpose.

          423.    As a direct and proximate result of Pfizer‘s and Ranbaxy‘s anticompetitive conduct,

   the direct purchasers and all members of the Direct Purchaser Class were harmed.

                               CLAIM III: VIOLATION OF 15 U.S.C. § 2
                             (Conspiracy to monopolize against all defendants)

          424.    The direct purchasers hereby incorporate each preceding and succeeding paragraph as

   though fully set forth herein.

          425.    This claim is pled against all defendants.

          426.    Through the overarching anticompetitive scheme, including the Delay Agreements,

   sham citizen petition, and other misconduct as alleged herein, Pfizer and Ranbaxy conspired to

   maintain and enhance Pfizer‘s monopoly power in the relevant market.

          427.    Pfizer and Ranbaxy knowingly and intentionally conspired to maintain and enhance

   Pfizer‘s monopoly power in the relevant market.

          428.    Pfizer and Ranbaxy specifically intended that the overarching anticompetitive scheme

   would maintain Pfizer‘s monopoly power in the relevant market, and injured the direct purchasers

   and all member of the Direct Purchaser Class.

          429.    Pfizer and Ranbaxy each committed at least one overt act in furtherance of the

   conspiracy.

          430.    As a direct and proximate result of Pfizer‘s and Ranbaxy‘s illegal and monopolistic

   conduct, the direct purchasers and all members of the Direct Purchaser Class were harmed.




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                              CLAIM IV: VIOLATION OF 15 U.S.C. § 2
                              (Attempted monopolization against Pfizer only)

          431.    The direct purchasers hereby incorporate each preceding and succeeding paragraph as

   though fully set forth herein.

          432.    This claim is pled as to the Pfizer defendants only.

          433.    The Pfizer defendants, through their overarching anticompetitive scheme, including

   the Delay Agreements, sham citizen petition, and other misconduct as alleged herein, specifically

   intended to maintain monopoly power in the relevant market. It was Pfizer‘s conscious objective to

   control prices and/or to exclude competition in the relevant market.

          434.    The natural and probable consequence of the Pfizer defendants‘ overarching

   anticompetitive scheme, which was intended by, and plainly foreseeable to, Pfizer, was to control

   prices and exclude competition in the relevant market, to the extent it did not succeed.

          435.    There was a substantial and real chance, a reasonable likelihood, and/or a dangerous

   probability that Pfizer would succeed in and achieve its goal of maintaining monopoly power in the

   relevant market.

          436.    As a direct and proximate result of the Pfizer defendants‘ illegal and monopolistic

   conduct, the direct purchasers and all members of the Direct Purchaser Class were harmed.

                                       DEMAND FOR JUDGMENT

          WHEREFORE, the direct purchasers, on behalf of themselves and the Direct Purchaser

   Class, respectfully demand that the Court:

          A.      Determine that this action may be maintained as a class action pursuant to Fed. R.

   Civ. P. 23(a) and (b)(3), and direct that reasonable notice of this action, as provided by Fed. R. Civ.

   P. 23(c)(2), be given to the Class, and declare the direct purchasers plaintiffs as the representatives

   of the Direct Purchaser Class;


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          B.      Enter joint and several judgments against the defendants and in favor of the direct

   purchaser plaintiffs and the Direct Purchaser Class;

          C.      Award the Direct Purchaser Class damages (i.e., three times overcharges) in an

   amount to be determined at trial; and

          D.      Award the direct purchaser plaintiffs and the Direct Purchaser Class their costs of

   suit, including reasonable attorneys‘ fees as provided by law.

                                             JURY DEMAND

          Pursuant to Fed. Civ. P. 38, the direct purchasers, on behalf of themselves and the proposed

   Direct Purchaser Class, demand a trial by jury on all issues so triable.




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   Dated: September 10, 2012


                                               Respectfully submitted,


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